Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 1 of 67




                            EXHIBIT 31
      Case 25-90138 Document 25-31 Filed inReceived
                                             TXSB6/4/2024
                                                    on 06/02/25    Page
                                                          9:29:26 AM     2 ofCourt
                                                                     Supreme  67 Eastern District
                                                    Filed 05/28/2024 Supreme Court Eastern District
                                                    176 EAL 2024



                    IN THE SUPREME COURT OF PENNSYLVANIA
                              EASTERN DISTRICT




REUBEN BALZAN, COURT-APPOINTED LIQUIDATOR OF GEDEN HOLDINGS, LTD

                                           Petitioner

   GEDEN HOLDINGS, LTD; ADVANTAGE TANKERS, LLC;ADVANTAGE AWARD
               SHIPPING LLC and ECLIPSE LIQUIDITY, INC.

                                         Respondents

                       PETITION FOR ALLOWANCE OF APPEAL
                            Tentative docket No: 86 ET 2024

 PETITION FOR ALLOWANCE TO APPEAL ORDER OF THE SUPERIOR COURT

       Appeal from the Order of the Superior Court of Pennsylvania in 586 EDA 2024 dated
April 26, 2024 dismissing the appeal of Geden Holdings Ltd. (In liquidation) by and through its
court appointed liquidator Reuben Balzan for lack of standing, against the Order of the Court of
Common Pleas Philadelphia County Civil Division No. 200300816, entered on January 23, 2024.




            George A. Gaitas                                     Jonathan M. Chalos
           Gaitas & Chalos, P.C.                                Gaitas & Chalos, P.0
            1908 Memorial Way                                   1908 Memorial Way
           Houston, Texas 77057                                Houston, Texas 77057
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                                      Michael Schleigh
                                    Hardin Thomson, P.C.
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                              123 South Broad Street, Suite 2235
                                   Philadelphia, PA 19109
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                                               1
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 3 of 67




                                   TABLE OF CONTENTS


Table of Citations                                                                .. 3

Reference to the Orders below                                                           4

Text of the Order in question                                                           5

Questions Presented for Review                                                      .6

Statement of place of raising or preservation of the issues                       .... 6

Statement of the case                                                    .. 7

Reasons relied on for allowance of the appeal and references to legal authority         8

Conclusion                                                                          . 10

Certificate of compliance with word limitation                                         12

Certificate Of Service                                                                 13

Certificate of Compliance with Pennsylvania Public access policy                       15

Appendices                                                                             16

Appendix A — Docket Sheet of the Superior Court

Appendix B- Order of the Court of Common Pleas

Appendix C- Opinion of the Court of Common Pleas Pursuant to Pa. R.A.P. 1925

Appendix D- Superior Court Order dated April 26, 2024 dismissing appeal

Appendix E- Superior Court Order dated May 8, 2024 denying re-argument




                                                 2
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 4 of 67




                                    TABLE OF CITATIONS


Cases:


Brittain v. Hcpe Entetprises Foundation, 163 A.3d 1029 (Pa. Super. 2017)         9


Commonwealth v. Donahue, 626 Pa. 437 A.3d 1223 (2014)                            9


Danville, H. & W. R. Co. v. Rhodes, 180 Pa. 157 ( 1897)                              8


Epstein v. SaulEwing, LLP, 7A.3d 303 (Pa. Super. 2010)                      .5


Gliwa v. United States Steel Cotp., 322 Pa. 225 ( 193 6)                             8


H,SBC Bank USA v. Mid County Resources, 36 Pa. D. & C.Sth 473 (C.P. 2014)            9

In relnt. cfK.C., 156 A.3d 1179,1182 (Pa. Super. 2017)                               5

Sino Clean Energy, Inc. v. Seiden (In re Sino Clean Energy, Inc.),
901 F.3d 1139 (9th Cir. 2018)                                      .... 9



Statutes:

Pa.R.A.P. 501                                                               passim




                                                  3
  Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 5 of 67




                      REFERENCE TO THE ORDERS BELOW



- The Order of the Superior Court dated April 26, 2024 dismissing appeal is attached to his
  petition as Appendix D.

- The Order of the Superior Court dated May 9, 2024 denying reargument is attached to this
  petition as Appendix E.

- The Order and Opinion of the Court of Common Pleas are attached to this petition
  respectively as Appendix B and C Respectively.

- The final Order of the Court of Common Pleas, Philadelphia County (Paula Patrick, J.)
   which is the subject of this petition stated: "It is ordered that this action is dismissed for
   lack of subject matter jurisdiction.


- The Order of the Superior Court that is the subject of this petition states as follows:
   Although Appellant filed a response to the show-cause order, the response is legally
   insufficient to support Appellant's standing to appeal the order. Accordingly, the appeal is
   DISMISSED."




                                              4
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 6 of 67




                           TEXT OF THE ORDER IN QUESTION



        Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden Holdings, Ltd.
("Geden"), one of the defendants below, appeals from the January 24, 2024 order that granted
summary judgment in favor of Geden as well as the other defendants and dismissed the action
against them for lack of subject matter jurisdiction.

"Except where the right of appeal is enlarged by statute," only a "party who is aggrieved by an
appealable order, or afiduciary whose estate or trust is so aggrieved, may appeal therefrom."
Pa.R.A.P. 501. "A party is ` aggrieved' when the party has been adversely affected by the decision
from which the appeal is taken." In re Int. tf KC., 156 A.3d 1179, 1182 (Pa. Super. 2017). "A
prevailing party is not ` aggrieved' and[,] therefore, does not have standing to appeal an order that
has been entered in his or her favor." Epstein v. SaulEwing, LLP, 7A.3d 303, 314 (Pa. Super.
2010). Here, the order granted summary judgment in favor of Geden and the other defendants
below. Therefore, Geden is aprevailing party, and Appellant lacks standing to appeal the order
entered in Geden's favor.

By Order of March 25, 2024, Appellant was directed to show cause why he has standing to appeal
the order. Although Appellant filed aresponse to the show-cause order, the response is legally
insufficient to support Appellant's standing to appeal the order. Accordingly, the appeal is
DISMISSED.




                                                 5
         Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 7 of 67




                             QUESTION PRESENTED FOR REVIEW

          May the court-appointed liquidator of aforeign corporation undergoing foreign judicial

insolvency proceedings in the country of its incorporation be denied standing as an aggrieved party

to appeal the judgment in favor of foreign parties who impersonate the foreign insolvent

corporation in the proceedings in the lower and appellate courts. The lack of capacity of parties

impersonating Geden Holdings, Ltd, and the judicial insolvency of the said company in Malta,

the country where Geden Holdings Ltd. is incorporated was first raised by motion in proceedings

before the Court of Common Pleas in related action with case No. 230602605 November 8, 2023. 1

By Reply filed in the Court of Common Pleas on December 14, 2023 the said court was alerted to

the status of the Maltese Court administered insolvency. 2 These matters were expressly brought

to the attention of the Superior Court with Petitioner's Docketing Statement (Addendum to

Docketing Statement at ¶ 10).




1   Court of Common Pleas ,230602605 Dkt. Entry-08 NOV-2023


2   Court of Common Pleas 230602605 - Dkt. Entry 14-DEC-2023



                                                     6
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 8 of 67




                                 STATEMENT OF THE CASE

       By Order of the Superior Court on March 25,2024 Appellant was directed to show cause

why he has standing to appeal the order granting summary judgment in favor of Geden Holdings

Ltd. as well as the other defendants.

      Appellant timely filed in the Superior Court his Response to the Order to Show Cause on

April 8, 2024. (Appendix A) supported by documentary proof showing, the Order of the

Maltese Court that Adjudicated Geden Holdings Ltd. insolvent; the order of the same court

appointing him liquidator, and the absence of any authorization by the Maltese courts or the

liquidators it had appointed to any attorneys to act on behalf of Geden Holdings, Ltd. in any

court proceedings in Pennsylvania.

       By its order of April 26, 2024 the Superior Court dismissed the appeal holding " Although

Appellant filed aresponse to the show-cause order, the response is legally insufficient to support

Appellant's standing to appeal the order. Accordingly, the appeal is DISMISSED."

       The rationale of the order dismissing the appeal was:

       "...the order granted summary judgment in favor of Geden and the other
      defendants below. Therefore, Geden is aprevailing party, and Appellant lacks
      standing to appeal the order entered in Geden's favor."



       That rationale was erroneous because the parties that had appeared in the proceedings

below representing themselves as Geden Holdings, Ltd. were not Geden Holdings, Ltd. The said

company abusiness entity incorporated in Malta had been adjudicated insolvent for some years

and lacked legal capacity to appear in legal proceedings, save by and through its court appointed

liquidator, who is the appellant hereunder.




                                                7
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 9 of 67




       Appellant's Motion for Reargument of the Order dismissing appeal, filed on May, 82024

was denied by the Superior Court on May 9, 2024. Appendix A-Dkt. Entries May 8and May 9,

2024 respectively.

       For these reasons the Order of the Superior Court dismissing the appeal of the Liquidator

of Geden Holdings, Ltd. for the reason that Geden Holdings, Ltd. was aprevailing party is

erroneous and contrary to law.




 REASONS RELIED ON FOR ALLOWANCE OF THE APPEAL AND REFERENCES
                      TO LEGAL AUTHORITY

       The decision of the Superior Court was based on amechanistic interpretation of Pa. R. A.P.

501. It failed to consider how Geden Holdings, Ltd, acorporate entity in court-ordered liquidation

under the laws of its own country of incorporation, can be regarded aprevailing party when, as in

this case, the parties who appeared in the proceedings in the Court of Common Pleas, fraudulently

represented to the court that they were Geden Holdings, Ltd. The said parties acted in this regard

without any lawful authorization from the Maltese court or the liquidator it appointed.

       The Superior Court had express notice from the Docketing Statement, Addendum ¶ 10,

Petitioner filed that the very legitimacy of the representation of Geden Holdings, Ltd. legal

representation and good standing as an active corporate entity were at issue. These concerns were

again brought to the attention of the Superior Court with Petitioner's Response to the Superior

Court's Order to Show cause.      Appendix A. Dkt. Entry April 8, 2024.       In this Response the

Liquidator provided substantial documentary evidence proving the status of Geden Holding Ltd.

as a foreign business entity undergoing judicial liquidation in the country where it was

incorporated ; and of his authority to exclusively act on behalf of the said foreign business entity.

Petitioner's Response to the order to show cause demonstrated the order of the Court of Common


                                                  8
      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 10 of 67




Pleas, that dismissed as "moot" the timely motions that challenged the authority of counsel that

had appeared on behalf of Geden Holdings Ltd., and the very identity of the parties who

represented to the Court to be Geden Holdings, Ltd. was erroneous as contrary to law. The lower

court was bound under Pennsylvania law to require the parties that had appeared before it as Geden

Holdings, Ltd to prove through their counsel their good standing, and corporate capacity, and the

said counsel's authority to represent Geden. Danville, K & W. R. Co. v. Rhodes, 180 Pa. 157, 36

A. 648, 649 ( 1897); Gliwa v. United States Steel Corp., 322 Pa. 225, 185 A. 584, 586 (1936). A

judgment of the court obtained by an impostor is not binding on the corporation which was

impersonated by the impostor. See generally: Sino Clean Energy, Inc. aSeiden (In re Sino Clean

Energy, Inc.), 901 F.3d 1139, 1141-1142 (9th Cir. 2018). Geden Holdings, Ltd. (in Liquidation),

duly represented by its court-appointed liquidator is not bound by acts of parties that impersonated

it in the proceedings in this case.

        It is respectfully submitted that the appearance and participation of Geden Holdings, Ltd.

as aparty in the proceedings before the Court of Common Pleas worked afraud upon the Court 3

of the "extrinsic fraud" variant.

"Extrinsic fraud operates, not upon the matter pertaining to the judgment, but the manner in which

it is procured[.] In 34 Corpus Juris, 282, it is stated that "fraud practiced upon the court is always

ground for vacating the judgment, as where the court is deceived or misled as to the material

circumstances, or its process is abused, resulting in the rendition of ajudgment which would not

have been given if the whole conduct of the case had been fair."




3 "
  afraud upon the court, .... has been defined as "[i]n ajudicial proceeding, alawyer's or party's misconduct
so serious that it undermines or is intended to undermine the integrity of the proceeding." Black's Law
Dictionary (9th ed. 2009)." HSBC Bank USA v. Mid County Resources, 36 Pa. D. & C.5th 473, 479 (C.P.
2014)


                                                     9
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 11 of 67




Brittain v. Hcpe Enterprises Foundation, 2017 PA Super 148,163 A.3d 1029, 1037 (citing Willetts

v. Willetts,96 Pa. Super. 198, 206 (Pa. Super. 1929)).

       The error in the reasoning of the Order of the Superior Court dismissing Petitioner's appeal

is that it took "aggrieved party' in Pa. R. A. P. 501 to be synonymous with "prevailing party," and

did not focus on the "Note" to this Rule which states: " Note: Whether or not aparty is aggrieved

by the action below is asubstantive question determined by the effect of the action on the party,

etc." In his concurring opinion in Commonwealth v. Donahue, 626 Pa. 437, 98 A.3d 1223 (2014)

Mr. Justice Castille addressed this important distinction noting : "I acknowledge that some

decisional law may be read to suggest broadly that aprevailing party is, on that ground alone, not

aggrieved and has no standing to appeal. (internal citations and notes omitted)."


Id. 626 Pa.469-471


       On its face of the order addressed in this petition, the Superior Court dispensed with the

substantive analysis, particularly needed in the circumstances of this case, and employed a

mechanistic textual analysis, and thereby inverted the equities of the case, letting stand adecision

that prohibited the defrauded creditors acting through the liquidator to pursue and recover assets

for the insolvency estate of Geden Holdings, Ltd..   Such aresult is erroneous and contrary to law.



                                         CONCLUSION

       Based on the foregoing, Petitioner has shown substantial cause why the appeal of Geden

Holdings, Ltd. should not be dismissed in the perfunctory mechanistic way in which it was

dismissed by the Superior Court.     The dismissal by the Superior Court of the appeal of the

liquidator of Geden Holdings. Ltd. (In Liquidation) for lack of standing should be reversed.




                                                10
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 12 of 67




Date: June 4, 2024                                   /
                                                     s/ George A. Gaitas




                                      11
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 13 of 67




                     CERTIFICATE OF WORD COUNT COMPLIANCE

In accordance with the Pennsylvania Rules of Appellate Procedure, counsel for Petitioner Reuben

Balzan,   court-appointed Liquidator of Geden Holdings Ltd. certifies that this Petition for

Allowance of Appeal complies with the length limitation of Pa. R.A.P. 1115(f) because this

application contains 1,687 words (not to exceed 9,000 words), excluding the parts of the Petition

exempted by Pa. R.A.P. 1115(g).

                                                                   Respectfully submitted,


Date: June 4, 2024                                                 /
                                                                   s/ George A. Gaitas




                                               12
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 14 of 67




                                CERTIFICATE OF SERVICE


       I, Michael F. Schleigh, Esquire, hereby certify that Iam this day serving atrue and correct


copy of the Notice of Appeal via the online CM/ECF system., as well as emailing acopy to the


following:



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                                               13
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 15 of 67




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Date June 4, 2024                              /
                                               s/ Michael F. Schleigh, Esq.




                                      14
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 16 of 67




                            CERTIFICATE OF COMPLIANCE




Icertify that this filing complies with the provisions of the Case Records Public Access Policy cf
the Un fied Judicial System cf Pennsylvania that require filing confidential information and
documents differently than non-confidential information and documents.




Date June 4, 2024                                                  /
                                                                   s/ Michael F. Schleigh, Esq




                                               15
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 17 of 67

                                                                       Filed 05/08/2024



 ECLIPSE LIQUIDITY, INC.                   IN THE SUPERIOR COURT OF
                                                 PENNSYLVANIA

            V.                             Philadelphia County Civil
                                           Division
                                           200300816
GEDEN HOLDINGS, LTD, ADVANTAGE
TANKERS, LLC, AND ADVANTAGE
AWARD SHIPPING, LLC
                                            No. 587 EDA 2024

APPEAL OF: REUBEN BALZAN,
COURT-APPOINTED LIQUIDATOR FOR
GEDEN HOLDINGS, LTD.



                                  ORDER


      Upon consideration of the May 8, 2024 " Motion of Reuben Balzan
Liquidator of Geden Holdings Ltd. for Re-Argument of April 26, 2024 Order
Dismissing Appeal," docketed as " Application for Reconsideration of Order,"
filed by Appellant, Reuben Balzan, Court- Appointed Liquidator for Geden
Holdings, Ltd., the application is DENIED.

                                                                PER CURIAM
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 18 of 67




                    Appendix A
10:59 A.M.
                   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 19 of 67
                                                                        Sealed Documents


Appeal Docket Sheet                                                                                                           Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 1of 6

May 23, 2024
                                                                                 CAPTION

Eclipse Liquidity, Inc.
             V.
Geden Holdings, Ltd, Advantage Tankers, LLC, and Advantage Award Shipping, LLC


Appeal of: Reuben Balzan, Court-Appointed Liquidator for Geden Holdings, Ltd.
I                                     •                                  CASE INFORMATION

Initiating Document:                  Notice of Appeal


Case Status:                          Decided/Active

Case Processing Status:               April 26, 2024                     Awaiting Remittal

Journal Number:


Case Category:                        Civil                                            Case Type(s):                      Contracts




                                                                                       Docket No / Reason               Type
                                                                                       586 EDA2024                      Related
                                                                                         Similar Issue(s)

                                                                                       589 EDA2024                      Related
                                                                                         Similar Issue(s)

                                                                                       590 EDA2024                      Related
                                                                                         Similar Issue(s)


                                                                          SCHEDULED EVENT

Next Event Type: Record Remitted                                                                                 Next Event Due Date: May 28, 2024
Next Event Type: Appellant Reproduced Record Filed                                                               Next Event Due Date: July 15, 2024
Next Event Type: Appellant Brief Filed                                                                           Next Event Due Date: July 15, 2024

                                                                       COUNSEL INFORMATION

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IFP Status:                    No
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                   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 20 of 67
                                                                        Sealed Documents


Appeal Docket Sheet                                                                                                           Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 2of 6

May 23, 2024
                                                                       COUNSEL INFORMATION

Appellee                 Geden Holdings, Ltd, Advantage Tankers, LLC, and Advantage Award Shipping, LLC
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                                        New York, NY 10007

                                                                           FEE INFORMATION

Fee Dt            Fee Name                                                                        Fee Amt Receipt Dt            Receipt No          Receipt Amt
02/20/2024        Notice of Appeal                                                                   90.25 03/01/2024           2024-SPR-E-000334        90.25
05/08/2024        Motion for Reconsideration or Clarification                                        15.00 05/08/2024           2024-SPR-E-000640         15.00




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                  Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 21 of 67
                                                                Sealed Documents


Appeal Docket Sheet                                                                                                    Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 3of 6

May 23, 2024


OrderAppealed From:     January 23, 2024                                   Notice of Appeal Filed:             February 20, 2024
Order Type:             Order Entered
Documents Received:     February 29, 2024

Court Below:            Philadelphia County Court of Common Pleas
County:                 Philadelphia                                       Division:                           Philadelphia County Civil Division
Judge:                  Patrick, Paula A.                                  OTN:
Docket Number:          200300816                                          Judicial District:                  01
                                                           ORIGINAL RECORD CONTENT

Original Record Item                                                       Filed Date                          Content Description

Testimony                                                                  March 05, 2024
Original Record                                                            April 24, 2024
Original Record                                                            April 24, 2024
Trial Court Opinion                                                        April 24, 2024

Date of Remand of Record:

                                                                 BRIEFING SCHEDULE

Appellant                                                                     Appellee
 Reuben Balzan, Court-Appointed Liquidator for Geden                            Geden Holdings, Ltd, Advantage Tankers, LLC, and
 Holdings, Ltd.                                                                Advantage Award Shipping, LLC
  Brief                                                                          Brief
Due: July 15, 2024                Filed:


  Reproduced Record
Due: July 15, 2024                Filed:

                                                                   DOCKET ENTRY

Filed Date               Docket Entry / Representing                       Participant Type                         Filed By

February 29, 2024        Notice of Appeal Docketed
                                                                           Appellant                                Reuben Balzan, Court-Appointed
                                                                                                                    Liquidator for Geden Holdings, Ltd.

February 29, 2024        Docketing Statement Exited (Civil)
                                                                                                                    Superior Court of Pennsylvania

March 5, 2024            Transcripts of Testimony
                                                                                                                    Court Reporters, Digital Recording,
                                                                                                                    and Interpreters Administration - First
                                                                                                                    Judicial District of Pennsylvania

March 11, 2024           Docketing Statement Received (Civil)
                                                                           Appellant                                Reuben Balzan, Court-Appointed
                                                                                                                    Liquidator for Geden Holdings, Ltd.




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                 Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 22 of 67
                                                                 Sealed Documents


Appeal Docket Sheet                                                                                                    Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 4of 6

May 23, 2024
                                                                    DOCKET ENTRY

Filed Date                  Docket Entry / Representing                     Participant Type                        Filed By

March 25, 2024             Order - Rule to Show Cause
                                                                                                                    Per Curiam
                 Comment: Appellant, Reuben Balzan, court-appointed liquidator for Geden
                            Holdings, Ltd., one of the defendants below, appeals from the January 24,
                           2024 order that granted summary judgment in favor of Appellant as well as
                           the other defendants below and dismissed the action against them for lack of
                           subject matter jurisdiction.
                           "Except where the right of appeal is enlarged by statute," only a " party
                           who is aggrieved by an appealable order ... may appeal therefrom."
                            Pa.R.A.P. 501. "A party is 'aggrieved' when the party has been adversely
                           affected by the decision from which the appeal is taken." In re Interest of
                            K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017). "A prevailing party is not
                           'aggrieved' and[,] therefore, does not have standing to appeal an order that
                           has been entered in his or her favor." Epstein v. Saul Ewing, LLP, 7A.3d
                           303, 314 ( Pa. Super. 2010). Here, the order entered summary judgment in
                           favor of Appellant and the other defendants below. As such, Appellant is a
                           prevailing party and, therefore, lacks standing to appeal the order entered in
                           its favor.
                           Accordingly, Appellant is DIRECTED to show cause, in aresponse filed
                           of record in this Court with acopy to opposing counsel, as to why the appeal
                           should not be quashed. The response shall be filed within fourteen ( 14)
                           days of the date of this Order. Failure to comply with this Order may result
                           in quashal of the appeal without further notice.

April 8, 2024               Response to Rule to Show Cause
                                                                            Appellant                               Reuben Balzan, Court-Appointed
                                                                                                                    Liquidator for Geden Holdings, Ltd.

April 24, 2024             Trial Court Record Received
                                                                                                                    Philadelphia County Civil Division

April 24, 2024             Sealed Trial Court Record Received - Sensitive Documents
                                                                                                                    Philadelphia County Civil Division

April 24, 2024             Trial Court Opinion Received
                                                                                                                    Philadelphia County Civil Division

April 24, 2024              Briefing Schedule Issued
                                                                                                                    Superior Court of Pennsylvania

April 26, 2024             Application for Extension of Time to File Brief - First Request
                                                                            Appellant                               Reuben Balzan, Court-Appointed
                                                                                                                    Liquidator for Geden Holdings, Ltd.

April 26, 2024             Order Granting Application for Extension of Time to File Appellant Brief
                                                                                                                    Per Curiam
                 Comment: Brief due by 7/15/2024




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10:59 A.M.
                 Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 23 of 67
                                                                 Sealed Documents


Appeal Docket Sheet                                                                                                    Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 5of 6

May 23, 2024
                                                                    DOCKET ENTRY

Filed Date                 Docket Entry / Representing                      Participant Type                        Filed By

April 26, 2024             Dismissed Sua Sponte
                                                                                                                    Per Curiam
                 Comment: Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden
                           Holdings, Ltd. (" Geden"), one of the defendants below, appeals from the
                           January 24, 2024 order that granted summary judgment in favor of Geden as
                           well as the other defendants and dismissed the action against them for lack
                           of subject matter jurisdiction.
                           "Except where the right of appeal is enlarged by statute," only a " party
                           who is aggrieved by an appealable order, or afiduciary whose estate or trust
                           is so aggrieved, may appeal therefrom." Pa.R.A.P. 501. " A party is 'aggrieved'
                           when the party has been adversely affected by the decision from which the
                           appeal is taken." In re Int. of K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017).
                           "A prevailing party is not 'aggrieved' and[,] therefore, does not have standing
                           to appeal an order that has been entered in his or her favor." Epstein v. Saul
                           Ewing, LLP, 7A.3d 303, 314 ( Pa. Super. 2010). Here, the order granted
                           summary judgment in favor of Geden and the other defendants below.
                           Therefore, Geden is aprevailing party, and Appellant lacks standing to appeal
                           the order entered in Geden's favor.
                           By Order of March 25, 2024, Appellant was directed to show cause why
                           he has standing to appeal the order. Although Appellant filed aresponse to
                           the show-cause order, the response is legally insufficient to support
                           Appellant's standing to appeal the order. Accordingly, the appeal is
                           DISMISSED.

May 8, 2024                Application for Reconsideration of Order
                                                                            Appellant                               Reuben Balzan, Court-Appointed
                                                                                                                    Liquidator for Geden Holdings, Ltd.
                 Comment: MOTION OF REUBEN BALZAN LIQUIDATOR OF GEDEN HOLDINGS LTD.
                           FOR RE-ARGUMENT OF APRIL 26, 2024 ORDER DISMISSING APPEAL

May 9, 2024                Order Denying Application for Reconsideration of Order
                                                                                                                    Per Curiam
                 Comment: Upon consideration of the May 8, 2024 " Motion of Reuben Balzan
                           Liquidator of Geden Holdings Ltd. for Re- Argument of April 26, 2024 Order
                           Dismissing Appeal," docketed as "Application for Reconsideration of Order,"
                           filed by Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden
                           Holdings, Ltd., the application is DENIED.



                                                             DISPOSITION INFORMATION

Final Disposition:        Yes
Related Journal No:                                                         Judgment Date:
Category:                 Disposed Before Decision                          Disposition Author:                 Per Curiam
Disposition:              Dismissed Sua Sponte                              Disposition Date:                   April 26, 2024




                             Neither the Appellate Courts nor the Administrative Office of Pennsylvania Courts assumes any liability
                                            for inaccurate or delayed data, errors or omissions on the docket sheets.
10:59 A.M.
                Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 24 of 67
                                                               Sealed Documents


Appeal Docket Sheet                                                                                                  Superior Court of Pennsylvania

Docket Number: 587 EDA 2024

Page 6of 6

May 23, 2024
                                                           DISPOSITION INFORMATION

Disposition Comment:    Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden
                        Holdings, Ltd. (" Geden"), one of the defendants below, appeals from the
                        January 24, 2024 order that granted summary judgment in favor of Geden as
                        well as the other defendants and dismissed the action against them for lack
                        of subject matter jurisdiction.
                        "Except where the right of appeal is enlarged by statute," only a " party
                        who is aggrieved by an appealable order, or afiduciary whose estate or trust
                        is so aggrieved, may appeal therefrom." Pa.R.A.P. 501. " A party is 'aggrieved'
                        when the party has been adversely affected by the decision from which the
                        appeal is taken." In re Int. of K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017).
                        "A prevailing party is not 'aggrieved' and[,] therefore, does not have standing
                        to appeal an order that has been entered in his or her favor." Epstein v. Saul
                        Ewing, LLP, 7A.3d 303, 314 ( Pa. Super. 2010). Here, the order granted
                        summary judgment in favor of Geden and the other defendants below.
                        Therefore, Geden is aprevailing party, and Appellant lacks standing to appeal
                        the order entered in Geden's favor.
                        By Order of March 25, 2024, Appellant was directed to show cause why
                        he has standing to appeal the order. Although Appellant filed aresponse to
                        the show-cause order, the response is legally insufficient to support
                        Appellant's standing to appeal the order. Accordingly, the appeal is
                        DISMISSED.
Dispositional Filing:                                                     Filing Author:
Filed Date:




                           Neither the Appellate Courts nor the Administrative Office of Pennsylvania Courts assumes any liability
                                          for inaccurate or delayed data, errors or omissions on the docket sheets.
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 25 of 67




                    Appendix B
               Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 26 of 67

RECEIVED

JAI! 2.A2023
                 IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
ROOM 521                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                   TRIAL DIVISION —CIVIL

        ECLIPSE LIQUIDITY, INC.,                                             MARCH TERM, 2020

                                       Plaintiff,                            NO. 00816

                               V.                                             COMMERCE PROGRAM

        GEDEN HOLDINGS, LTD,                                                  Control No. 23071241
        ADVANTAGE TANKERS LLC; and                                                                                    DOCKETED
        ADVANTAGE AWARD SHIPPING,
        LLC,                                                                                                          JAN w32024

                                                                                                                       R. POSTELL
                                       Defendants.                                                                 COMMERCE PROGRAM


                                                             ORDER

                AND NOW, this 22n d day of January, 2024, upon consideration of defendants' Motion

         for Summary Judgment, the responses thereto, and all other matters of record in this action and

         the related actions, and in accord with the Opinion issued simultaneously herewith, it is

         ORDERED that this action is DISMISSED for lack of subject matter jurisdiction.

                                                                                             BY THE COURT:




                                                    200300816- Eclipse Liquidity, Inc. Vs Geden Holdings. Lid El




                                                     1111111111111111111111111111111
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 27 of 67




        IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                          TRIAL DIVISION —CIVIL

ECLIPSE LIQUIDITY, INC.,                                 MARCH TERM, 2020

                                 Plaintiff,              NO. 00816

                         V.                              COMMERCE PROGRAM

GEDEN HOLDINGS, LTD,                                     Control No. 23071241
ADVANTAGE TANKERS LLC; and
ADVANTAGE AWARD SHIPPING,
LLC,

                                 Defendants.

                                               OPINION

       In 2017, plaintiff Eclipse Liquidity, Inc. obtained aforeign judgment of more than $3

million against defendant Geden Holdings, Ltd ("Geden"), which judgment plaintiff domesticated

with this court that same year.'     Plaintiff attempted to collect on that judgment for several years

but was unable to do so because Geden is apparently without assets. However, plaintiff believes

it has identified aformer asset, an oil tanker ship (the "Tanker"), that was once owned, indirectly,

by Geden.

       In an attempt to execute on its judgment against the Tanker, plaintiff brought this action

against Geden and also sued defendant Advantage Award Shipping LLC ("Advantage Award"),

which apparently owns the Tanker, and defendant Advantage Tankers LLC ("Advantage

Tankers"), which owns 100% of the interests in Advantage Award (collectively, the two entities

are referred to as the "Advantage Defendants "). 2 In its Complaint, plaintiff alleges that there was




         I The Judgment is from the United Kingdom of Great Britain and Northern Ireland and was filed

with this court under case number 171000196.

       2   See Complaint filed March 06, 2020 in this action (the "
                                                                  2020 Complaint"), ¶ 6.
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 28 of 67



something improper about the transfer of the Tanker to Advantage Award such that the Tanker

should still be deemed an asset of Geden's subject to execution by plaintiff. Plaintiff asserts claims

against the defendants for de facto merger and violation of the Pennsylvania Uniform Fraudulent

Transfer Act ("PUFTA"). However, three years of discovery in this action has not enabled plaintiff

to substantiate those claims.

        Discovery has been complicated by that fact that not one of the parties to this action has

much of aconnection with Pennsylvania: plaintiff was established under the laws of the Republic

of the Marshall Islands; defendant Geden is organized under the laws of Malta; defendant

Advantage Award is organized under the laws of the Bahamas and/or the Republic of the Marshall

Islands; and defendant Advantage Tankers is organized under the laws of the Republic of the

Marshall Islands. 3

        Both Geden and Advantage Award are or were registered as foreign corporations with the

Commonwealth of Pennsylvania, but defendant Advantage Tankers is not registered to do business

here. 4 In order to overcome this problem, plaintiff alleged in Count II of its Complaint aclaim to

pierce the corporate veil of Advantage Award to obtain alter-ego personal jurisdiction over its

parent, Advantage Tankers. 5 Plaintiff has not proffered evidence sufficient for this court to do so,

so Advantage Tankers must be dismissed as aparty hereto. 6



        3   2020 Complaint, ¶¶ 1-5.

        4   See id., ¶¶ 4-7.

      'See 2020 Complaint, Count H; Plaintiff's Memorandum in Opposition to defendants' Motion for
Summary Judgment (the "Motion"), pp. 5, 17.

        6  "Piercing the corporate veil is ... amatter of equity, allowing acourt to disregard the corporate
forin and assess one corporation's liability against another. The corporate veil will be pierced and the
corporate form disregarded whenever justice or public policy demand[,] such as when the corporate forin
has been used to defeat public convenience, justify wrong, protect fraud, or defend crime. [However, a]
request to pierce the corporate veil is not an independent cause of action, but rather is ameans of imposing
liability established in an underlying cause of action, such as tort or breach of contract, against another."

                                                     2
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 29 of 67



        At the commencement of this case, plaintiff's theory appears to have been that Geden

transferred the Tanker, along with 11 other such vessels, to single purpose entities, including

Advantage Award, all of which are wholly owned by Advantage Tankers, so that Geden could

avoid having them seized to pay its creditors, such as plaintiff.

        Plaintiff further alleged that the owner of Geden, non-party Mr. Karamehmet, retained

control of the companies to which the vessels were transferred, including Advantage Award, such

that the transfers were mere subterfuges. 7 However, the evidence obtained in discovery has not

borne out this theory.

        As plaintiff has acknowledged, the corporate structures of the transferring entities and the

receiving entities are as follows: 8




Commonwealth by Shapiro v. Golden Gate Nat'l Senior Care LLC, 648 Pa. 604, 644, 194 A.3d 1010, 1035
(2018).
         "Neither the similarity of names between the parent and subsidiary corporation nor the total
ownership of the stock of the subsidiary by the parent nor the fact that asingle individual is the active chief
executive of both corporations will per se justify acourt in piercing the corporate veil if each corporation
maintains abona fide separate and distinct corporate existence.... There is awell recognized exception to
these general rules if the record demonstrates that the subsidiary is the ` alter ego' of the parent to the extent
that domination and control by the parent corporation renders the subsidiary amere instrumentality of the
parent; under such extreme circumstances the parent corporation may be held to be doing business within
the state under the facade of the subsidiary." Botwinick v. Credit Exch., Inc., 419 Pa. 65, 71-72, 213 A.2d
349, 353-54 ( 1965).

          See 2020 Complaint, ¶¶ 49-55.

        sPlaintiff concedes the "Original Ownership" chain in the 2020 Complaint, ¶ 24, and in its
Complaint filed on June 27, 2023, in anew, related action number 230602605 (the "2023 Complaint"), ¶¶
40-41. Plaintiff concedes the " Ownership after Transfer" chain in the 2020 Complaint, ¶ 27, and the 2023
Complaint, ¶¶ 5-9 and Ex.2.

                                                        3
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 30 of 67



        Original Ownership                       Ownership After Transfer
        Tanker named Value                       Tanker re-named Advantage Award
        -Owned by -                              -Owned by —
        Value Shipping, Ltd.                     Advantage Award Shipping LLC (defendant)
        -Owned by -                              -Owned by —
        Geden Holdings, Ltd.(defendant)          Advantage Tankers, LLC (dismissed defendant)
        -Owned by -                              -Owned by —
        Buselten Finance, S.A.                   Advantage Holdings, LLC
        -Owned by -                              -Owned by —
        Mr. Karamehmet9                          Forward Holdings, LLC
                                                 -Owned by —
                                                 Ms. Williams and Mr. Tokgoz io

        In or about May 5, 2015, title to the Tanker was transferred from Value Shipping, anon-

party to this action, to Advantage Award."        Defendants claim, and have offered some evidence,

that non-party Value Shipping, or its owners, received more than $ 48 million from entities related

to Advantage Award in exchange for the Tanker. 12 Apparently, the sales proceeds never made it

into, or were quickly transferred out of, Geden's coffers, so that plaintiff has been unable to seize

them. 13 However, that alone is not sufficient reason for this court to hold Advantage Award liable

to pay the sales proceeds, again, to plaintiff in this action.




         9 Plaintiff claims that Buselten is now majority owned by Ms. Karamehmet-Williams. See
Plaintiff's Sur-reply to defendants' Motion, p. 14; 2023 Complaint, ¶ 14.

        10   Non-party Ms. Willams, who holds 85% of the interests in Forward Holdings, LLC, is Mr.
Karamehmet's daughter, and non-party Mr. Tokgoz, who holds the other 15%, is alleged to have close ties
to Mr. Karamehmet as well. See 2020 Complaint, ¶ 22. However, the court must view them as individuals,
legally separate and fmancially independent from Mr. Karamehmet, until plaintiff proves otherwise. This
plaintiff has not done.

        11 Compare defendants' Motion, ¶28 with plaintiff's Response to defendants' Motion,     ¶ 28.

         'a Plaintiff now admits that Advantage Tankers LLC paid $ 126,617,680 to Geden for 8tankers
including the Tanker f/k/a Value and n/k/a Advantage. See 2023 Complaint, ¶¶ 45-46. Plaintiff further
alleges that Geden "sold its equity interest in the 11 crude oil tankers [including the Tanker] to Advantage
tankers for approximately $ 200,000,000[.]" See id. at ¶ 71. However, plaintiff also alleges that
$175,6999,979 of the sales proceeds paid to Geden was quickly transferred out of Geden's bank accounts
to related entities that are not named at defendants here. See id. at ¶¶ 52, 72.

        is Plaintiff now claims "the transfer of the sales proceeds by [defendant Geden] to [non-party]
corporate entities controlled by [Mr. Karamehmet.]" Plaintiff's Memorandum in Opposition to defendants'

                                                     4
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 31 of 67




        "[I]n ascertaining whether atransfer is voidable as to present and future creditors under

[PUFTA], acourt may consider whether the value of the consideration received by the debtor was

reasonably equivalent to the value of the asset transferred. ,14 Plaintiff has not pointed to any

evidence that the sales proceeds were not actually transferred from the buyer, Advantage Award

or its owners, to the seller, Value Shipping or its owners, nor has plaintiff proffered an expert or

other evidence to show that the sales price paid for the Tanker was not reasonably equivalent value

or afair market price. Because plaintiff does not have any such evidence, its claim that Geden

made afraudulent transfer of the Tanker to Advantage Award fails.

        Similarly, plaintiff's claim that Advantage Award is Geden's successor for judgment

execution purposes due to the two entities' "de facto merger" also fails.

        In cases rooted in breach of contract and express warranty, the de facto merger
        exception requires some sort of proof of continuity of ownership or stockholder
        interest. However, such proof is not restricted to here evidence of an exchange of
        assets from one corporation for shares in asuccessor corporation. Evidence of other
        forms of stockholder interest in the successor corporation may suffice; indeed 15
        Pa.C.S. § 1922(a)(3) contemplates that continuing shareholder interest pursuant to
        astatutory merger may take the form of "obligations" in lieu of shares in the new
        or surviving corporation. Further, de facto merger, including its continuity of
        ownership prong, will always be subject to the fact-specific nature of the particular
        underlying corporate realities and will not always be evident from the formalities
        of the proximal corporate transaction. These realities may include an issue
        concerning which entity is actually the true predecessor corporation. Finally, the
        elements of the de facto merger are not amechanically-applied checklist, but amap
        to guide areviewing court to adetermination that, under the facts established, for
        all intents and purposes, amerger has or has not occurred between two or more
        corporations, although not accomplished under the statutory procedure. 15




Motion, p. 29. See also Complaint in 2023 Action, ¶¶ 46-52, 71-72. Since the recipients are not parties to
this action, the court cannot order them to return or transfer the proceeds to plaintiff.

        la Fell v. 340 Assocs., LLC, 125 A.3d 75, 82 (Pa. Super. 2015).

        is Fizzano Bros. Concrete Prod. v. XLN, Inc., 615 Pa. 242, 273, 42 A.3d 951, 969 (2012).

                                                    5
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 32 of 67



Plaintiff has not proffered evidence of continuity of ownership or stockholder interest between

Geden, owned by Mr. Karamehmet, and Advantage Award and its parent's parent's parent,

Forward Holdings LLC, which is owned by Ms. Williams and Mr. Tokgoz.

       The most that plaintiff has discovered is that the Advantage Defendants have contracted

with the same management company that Value Shipping did to handle the day-to-day operations

of the Tanker. 16 That management company, which is not aparty to this action, is apparently

named Genel Denizcilik Nakliyati A.S. (" Genel") and is sometimes referred to as "Geden Lines."

Genel apparently was owned or controlled by the same person, Mr. Karamehmet, who ultimately

owns defendant Geden Holdings. 17

       In effect, plaintiff wants this court to find that the elaborate corporate structure of which

Advantage Award is apart is just arebranding of the elaborate corporate structure of which Geden

is apart. However, the court cannot decide the status, rights, and liabilities of the two remaining

defendants, Geden and Advantage Award, vis-a-vis the Tanker without also making decisions

regarding the status, rights, and liabilities of their owners, parent companies, and subsidiaries who

are not parties to this action. 18 Because adecision in favor of plaintiff against the two remaining




        16   See 2020 Complaint, ¶¶ 24-28; plaintiff's Sur-reply to defendants' Motion, p. 9.

        " See 2020 Complaint, ¶ 40 ("Notwithstanding the purported sale of the [Tanker] to Advantage
Award Shipping LLC[,] the commercial, technical, and administrative management and control of the
[Tanker] remained and continues to be with Geden Lines, in return for substantial management fees Geden
Lines receives from Award LLC. Geden Lines is 100% controlled by Mehmet Emin Karamehmet[.]"); 2023
Complaint, ¶ 57 ("Karamelunet-Williams, at all times material hereto, knew that the management and
operation of the 11 tankers transferred to Advantage Tankers LLC was to be performed entirely by Geden
Lutes, acorporate entity controlled by her father Karamehmet at the time.")
        Plaintiff now claims that Ms. Williams and her mother or other family members have assumed
control of Genel, which marks achange of ownership, not acontinuity thereof. See Plaintiff's Sur-reply to
defendants' Motion, p. 10; 2023 Complaint, ¶ 13. Neither Genel, " Geden Lines," nor any of these
individuals is aparty to this case.

        18 Many of them do not appear to be subject to personal jurisdiction in Pennsylvania.




                                                       6
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 33 of 67



defendants would potentially impair the rights of their non joined relatives, those absent parties

are necessary and indispensable parties to this action. 19 Because they are necessary and

indispensable non-parties, this court is deprived of subject matter jurisdiction to decide plaintiff's

claims in this action.

        With respect to defendant Geden Holdings, over whom this court does have jurisdiction,

plaintiff already has ajudgment against it, so there is no point continuing this action against it

alone to obtain, at best, aduplicate judgment. The question as to what Value Shipping and its

owners, including Geden, did with the money they received from Advantage Award and its related

entities is not before this court because Value Shipping Ltd., Buselten Finance S.A., and the other

persons and entities to whom that money may have been transferred are not parties to this litigation.

Similarly, the issue of whether Geden improperly transferred assets other than the Tanker to

entities other than Advantage Award is not before this court because those other recipient entities

are not parties to this action. In order to follow the money to which plaintiff claims it is entitled,

plaintiff will have to leave Philadelphia for other ports of call where the recipients can be found.

                                             CONCLUSION

        For all the foregoing reasons, the defendants' Motion for Summary Judgment will be

granted and plaintiff's claims in this action will be dismissed.

Dated: January 22, 2024                                             BY THE COURT:




                                                                              A. PAT


        19 "Under Pennsylvania law, the failure to join an indispensable party implicates the trial court's
subject matter jurisdiction. Failure to join an indispensable party goes absolutely to the court's jurisdiction
and the issue should be raised sua sponte.... A pasty is indispensable when his or her rights are so
connected with the claims of the litigants that no decree can be made without nnpairing those rights."
Orman v. Mortg. I.T., 118 A.3d 403, 406 (Pa. Super. 2015)


                                                      7
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 34 of 67




                    Appendix C
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 35 of 67




       IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                         TRIAL DIVISION —CIVIL

ECLIPSE LIQUIDITY, INC.,                             MARCH TERM, 2020


                             Plaintiff,              NO. 00816


                     V.                              COMMERCE PROGRAM


GEDEN HOLDINGS, LTD,                                 586 EDA 2024
ADVANTAGE TANKERS LLC; and                           587 EDA 2024              OPFL0.Eclip aUquidey. Inc. V Goden Holdings Umded


ADVANTAGE AWARD SHIPPING,
LLC,

                             Defendants.
                                                                              1111111111111111111111111111111
                                                                                          23060260500090



ECLIPSE LIQUIDITY, INC.,                             JUNE TERM, 2023

                             Plaintiff,              NO. 02605

                      V.                             COMMERCE PROGRAM


GULSUN NAZLI KARAHMEHMET-                            589 EDA 2024
WILLIAMS; COURTNEY BRYAN                             590 EDA 2024
WILLIAMS; GEDEN HOLDINGS LTD.;
ADVANTAGE TANKERS, LLC;
ADVANTAGE AWARD SHIPPING, LLC,

                              Defendants.

                                      APPEAL OPINION

       Plaintiff Eclipse Liquidity, Inc. ("Eclipse") appealed from this court's two separate orders

dismissing each of the above-captioned, related but not consolidated, cases.' Defendant Geden

Holdings, Ltd. ("Geden"), which claims to have been liquidated, and which is now purportedly




       1This court's rulings are set forth in its Order and Opinion docketed on January 23, 2024
in Case No. 200300816, and its footnoted Order docketed on January 23, 2024 in Case No.
230602605, both of which are attached hereto as exhibits.

                                                 1
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 36 of 67




also represented by plaintiff Eclipse's counsel, 2 likewise appealed from this court's dispositive

orders on substantially the same grounds as plaintiff Eclipse. The court's reasons for dismissing

these actions are set forth in its prior Opinion, which is attached hereto and incorporated herein.

       By way of background, this court notes that Eclipse previously obtained aBritish judgment

against Geden, which Eclipse domesticated here in Pennsylvania, but Eclipse was apparently

unable to locate any assets of Geden's in this Commonwealth with which to satisfy the judgment.'

Despite this court's rulings in these two later cases, Eclipse is still free to try to enforce that

judgment in other countries where Geden's allegedly fraudulently conveyed assets may be found.

However, Eclipse may not continue to assert claims in this court over parties that are not subject

to this court's personal jurisdiction, nor ask this court to make rulings regarding assets allegedly

held abroad by non-parties.

       Geden, now acting through plaintiff's counsel, and Eclipse both raise an issue on appeal

that was not expressly addressed in this court's prior Opinion and Orders, namely whether this

court was required to determine whether the defense attorneys who entered their appearance on

Geden's behalf in these cases were authorized to represent it. 4 Eclipse recently raised this issue




       2 This court's dockets in these cases do not show any entry of appearance by plaintiff's
counsel stating that he now represents defendant Geden Holdings, Ltd. or the liquidator thereof.

       3 Case No. 171000196. A copy of this court's docket for the foreign judgment case is

attached hereto as an exhibit. For purposes of this opinion, the foreign judgment case shall be
viewed as the "first case" in this lengthy, piecemeal, litigation between Eclipse, Geden, and other
defendants.

       4 According to both  appellants, "Geden Holdings Ltd. ha[s] been, since June 15, 2017,
under dissolution in Malta, the country of its incorporation, and [therefore] without corporate
capacity to act through its former directors, officers, or shareholders." See Geden's 1925(b)
Statement of Errors Complained of on Appeal filed in both cases, ¶ 1; Eclipse's 1925(b) Statement
of Errors Complained of on Appeal filed in Case No. 200300816, ¶ 10.
        Similarly, in its November, 2023 Motion to Disqualify Geden's Counsel, Eclipse
represented that:

                                                 2
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 37 of 67




by way of aMotion to Disqualify Geden's Counsel, which was filed only in the third case, Case

No. 230602605, and not in the second case, Case No. 200300816. 5 Due to the court's holding that

it lacks subject matter jurisdiction over either dispute, the court did not address this issue.

       Even if this court had granted the relief sought by Eclipse with respect to Geden and had

disqualified defense counsel from representing Geden, that same counsel clearly represents the

other defendants in these actions, and such counsel filed motions, responses and pleadings on

behalf of those defendants. 6 It does not matter greatly for purposes of this court's decision to

dismiss these cases on which side of the "vs." judgment-debtor Geden resides, nor which counsel

represents it. This court lacks subject matter jurisdiction over these two cases due to the absence




        According to Maltese law governing companies, the company shall be deemed to
        have been dissolved as of the time of the filing of the winding up application. In
        this case, the winding up application was filed on September 16, 2016.

        As aconsequence of the legal events that occurred in Malta that culminated with
        the June 15, 2017 order of the Civil Court that adjudicated Geden insolvent, ordered
        its liquidation and appointed aliquidator, Geden was dissolved with effect from
        June 16, 2017.

Motion to Disqualify Geden's Counsel filed on November 8, 2023, in Case No. 230602605, ¶¶ 22,
26. If so, then Geden was dissolved before any proceedings, including the domestication of the
foreign judgment against it, were commenced by Eclipse in this court.

       5These two cases from which the present appeals were taken were never consolidated.
Eclipse filed a Motion to Consolidate shortly after filing the third case, which Motion was
contested by defendants. This court dismissed the Motion as moot in light of the dismissals of
both actions for lack of subject matter jurisdiction. See Order docketed on January 23, 2024, in
Case No. 230602605.

       6 In Case No. 200300816, in which no Motion to Disqualify was filed, Palmer Biezup &

Henderson LLP and Cozen O'Connor are counsel of record for defendants Advantage Tankers
LLC and Advantage Award Shipping LLC, as well as purportedly for Geden. In Case No.
230602605, in which the Motion to Disqualify was filed, Cozen O'Connor is counsel of record for
defendants Gulsun Nazli Karahmehmet-Williams, Courtney Bryan Williams, Advantage Tankers
LLC and Advantage Award Shipping LLC, as well as purportedly for Geden.


                                                   3
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 38 of 67




of additional, necessary and indispensable, foreign entities and individuals, who were not named

as defendants in either case. Therefore, the court properly dismissed Eclipse's Motion to

Disqualify Geden's Counsel as moot.

        Both Eclipse and Geden raise as an issue on appeal asupposed incompatibility between

this court's discussion in its Opinion that it lacks personal jurisdiction over defendant Advantage

Award Shipping, LLC, and its determination in that same Opinion that it lacks subject matter

jurisdiction over both lawsuits. Appellants are correct that adetermination of lack of subj ect matter

jurisdiction eliminates any need for, or ability of, this court to rule on any other issues raised by

the parties; the court's Orders dismissing these cases for lack of subject matter jurisdiction

demonstrate the supremacy of this issue. However, the discussion and determination of other

issues, such as the lack of personal jurisdiction over Advantage Tankers, LLC, the lack of evidence

for the fraudulent transfer claims against Advantage Award Shipping, LLC, and the deficiencies

in the abuse of process claim asserted against Gulsun Nazli Karahmehmet-Williams, support the

overarching theme that it is fruitless for Eclipse to pursue this litigation in this forum any further. 7

       During briefing and oral argument of these appeals, this court respectfully suggests that the

appellate court pay close attention to Eclipse's most current. theory of its case against the

defendants, other than Geden, whom it named in these actions.                That theory has altered

substantially over the course of the more than six years of litigation here, and it has grown to

include many additional persons and entities not named in these actions. As aresult, this court is

unfavorably reminded of the old shell game. In the end, however, Eclipse's apparent hide-the-ball




       7  For the same reason, this court correctly denied Eclipse's Bch Motion for Extraordinary
Relief, because there was no point in Eclipse trying to take yet more discovery of persons outside
the jurisdiction of this court. See Order docketed on November 20, 2023, denying Eclipse's
Motion to Amend the Court's May 9, 2023 Order to certify it for immediate appeal, acopy of
which is attached hereto.

                                                   4
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 39 of 67




litigation strategy before this court is not sufficient to overcome Geden's alleged hide-the-assets

strategy, which Geden seems to have exercised on aglobal scale far beyond the reach of this court.

It may be true that Eclipse is avictim of Geden's former officers', directors', and employees'

improper transfers of Geden's assets to other persons and entities. However, those assets have

clearly been shifted far outside this court's jurisdiction, so this court is unable to offer Eclipse any

real relief beyond recognizing its foreign judgment, which was already done in 2017.

                                           CONCLUSION

       For all the foregoing reasons, this court respectfully requests that its January 23`d Orders

entered in the above-captioned cases be affirmed on appeal.




Dated: April 23, 2024                                          BY THE COURT:




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               Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 40 of 67




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         JA% 2R2023      IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
         ROOM 521                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                           TRIAL DIVISION -- CIVIL

                 ECLIPSE LIQUIDITY, INC.,                                        MARCH TERM, 2020

                                                Plaintiff,                       NO. 00816

                                        V.                                       COMMERCE PROGRAM

s                GEDEN HOLDINGS, LTD;                                            Control No. 23071241
                 ADVANTAGE TANKERS LLC; and                                                                        DOCKETED
                 ADVANTAGE AWARD SHIPPING,
                 LLC,                                                                                              JAN 232024
                                                                                                                    R. POSTELL
                                                Defendants.                                                     COMMERCE PROGRAM

                                                                    ORDER

                         AND NOW, this 22° dday of January, 2024, upon consideration of defendants' Motion

                 for Summary Judgment, the responses thereto, and all other matters of record in this action and

                 the related actions, and in accord with the Oph-
                                                                don issued simultaneously herewith, it is

                 ORDERED that this action is DISMISSED for lack of subject matter jurisdiction.

                                                                                             BY THE COURT:




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    COPIES SENT PURSUANTTO Pa.R.C.P. 2361b1 R. POSTELL 01/24/2024
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 41 of 67




           IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                             TRIAL DIVISION —CIVIL

 ECLIPSE LIQUIDITY, INC.,                                 MARCH TERM, 2020

                                  Plaintiff,             NO. 00816

                          V.                              COMMERCE PROGRAM

 GEDEN HOLDINGS, LTD,                                     Control No. 23071241
 ADVANTAGE TANKERS LLC; and
 ADVANTAGE AWARD SHIPPING,
 LLC,

                                  Defendants. .

                                                OPINION

        In 2017, plaintiff Eclipse Liquidity, Inc. obtained aforeign judgment of more than $3

million against defendant Geden Holdings, Ltd ("Geden"), which judgment plaintiff domesticated

with this court that same year.' Plaintiff attempted to collect on that judgment for several years

but was unable to do so because Geden is apparently without assets. However, plaintiff believes

it has identified aformer asset, an oil tanker ship (the "Tanker"), that was once owned, indirectly,

by Geden.

       In an attempt to execute on its judgment against the Tanker, plaintiff brought this action

against Geden and also sued defendant Advantage Award Shipping LLC ("Advantage Award"),

which apparently owns the Tanker, and defendant Advantage Tankers LLC ("Advantage

Tankers"), which owns 100% of the interests in Advantage Award (collectively, the two entities

are referred to as the "Advantage Defendants") .2 In its Complaint, plaintiff alleges that there was




        1 The Judgment is from the United Kingdom of Great Britain and Northern Ireland and was filed

with this court under case number 171000196.

       2   See Complaint filed March 06, 2020 in this action (the "2020 Complaint"), 16,
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 42 of 67




 something improper about the transfer of the Tanker to Advantage Award such that the Tanker

 should still be deemed an asset of Geden's subject to execution by plaintiff. Plaintiff asserts claims

 against the defendants for de facto merger and violation of the Pennsylvania Uniform Fraudulent

 Transfer Act CTUFTA"). However, three years of discovery in this action has not enabled plaintiff

 to substantiate those claims.

        Discovery has been complicated by that fact that not one of the parties to this action has

 much of aconnection with Pennsylvania: plaintiff was established under the laws of the Republic

 of the Marshall Islands; defendant Geden is organized under the laws of Malta; defendant

 Advantage Award is organized under the laws of the Bahamas and/or the Republic of the Marshall

 Islands; and defendant Advantage Tankers is organized under the laws of the Republic of the

 Marshall Islands.

         Both Geden and Advantage Award are or were registered as foreign corporations with the

 Commonwealth ofPennsylvania, but defendant Advantage Tankers is not registered to do business

 here. 4 In order to overcome this problem, plaintiff alleged in Count II of its Complaint aclaim to

 pierce the corporate veil of Advantage Award to obtain alter-ego personal jurisdiction over its

 parent, Advantage Tankers.' Plaintiff has not proffered evidence sufficient for this court to do so,

 so Advantage Tankers must be dismissed as aparty hereto. 6



         32020 Complaint,      91 1-5.'

         4See id.,   11 4-7.
       SSee 2020 Complaint':Count II; Plaintiff's Memorandum in Opposition to defendants' Motion for
 Summary Judgment (the "Motion"), pp. 5, 17.

         6 "Piercing the corporate veil is ... amatter of equity, allowing acourt to disregard the corporate
 form and assess one corporation's liability against another. The corporate veil will be pierced and the
 corporate form disregarded whenever justice or public policy demand[,] such as when the corporate form
 has been used to defeat public convenience, justify wrong, protect fraud, or defend crone. [However, a]
 request to pierce the corporate veil is not an independent cause of action, but rather is ameans of imposing
 liability established in an underlying cause of action, such as tort or breach of contract, against another."

                                                      2
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 43 of 67




         At the commencement of this case, plaintiff's theory appears to have been that Geden

 transferred the Tanker, along with 11 other such vessels, to single purpose entities, including

 Advantage Award, all of which are wholly owned by Advantage Tankers, so that Geden could

 avoid having them seized to pay its creditors, such as plaintiff.

         Plaintiff further alleged that the owner of Geden, non-party Mr. Karamehmet, retained

 control of the companies to which the vessels were transferred, including Advantage Award, such

 that the transfers were mere subterfuges? However, the evidence obtained in discovery has not

 borne out this theory.

         As plaintiff has acknowledged, the corporate shactures of the transferring entities and the

 receiving entities are as follows: s




 Commonwealth by Shapiro v. Golden Gate Nat'I Senior Care LLC, 648 Pa. 604, 644, 194 A.3 d1010, 1035
 (2018).
          "Neither the similarity of names between the parent and subsidiary corporation nor the total
 ownership of the stock of the subsidiary by the parent nor the fact that asingle individual is the active chief
 executive of both corporations will per se justify acourt in piercing the corporate veil if each corporation
 maintains abona fide separate and distinct corporate existence.... There is awell recognized exception to
 these general rules if the record demonstrates that the subsidiary is the `after ego' of the parent to the extent
 that domination and control by the parent corporation renders the subsidiary amere instrumentality of the
 parent; under such extreme circumstances the parent corporation may be held to be doing business within
 the state under the facade of the subsidiary." Bohvinick v. Credit Exch.. Inc„ 419 Pa. 65, 71-72,213 AN
 349, 353-54 (1965).

         7See 2020 Complaint,     1149-55.
         sPlaintiff concedes the "Original Ownership" chain in the 2020 Complaint, 124, and in its
 Complaint filed on June 27, 2023, in anew, related action number 230602605 ( the "2023 Complaint"), rfi
 40-41. Plaintiff concedes the "
                               Ownership after Transfer" chain in the 2020 Complaint, 127, and the 2023
 Complaint, 17 5-9 and Ex.2.

                                                        3
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 44 of 67




         Original Ownership                       Ownership After Transfer
         Tankernamed Value                        Tanker re-named Advantage Award
         -Owned by -                              -Owned by —
         Value Shipping, Ltd.                     Advantage Award Shipping LLC (defendant)
         -Owned by -                              -Owned by —
         Geden Holdings, Ltd,(defendant)          Advantage Tankers, LLC (dismissed defendant)
         -Owned by -                              -Owned by —
         Buselten Finance, S.A.                   Advantage Holdings, LLC
         -Owned by -                              -Owned by —
         Mr. Karamehmet?                          Forward Holdings, LLC
                                                  -Owned by —
                                                  Ms. Williams and Mr. Tokgoz10

         In or about May 5, 2015, title to the Tanker was transferred from Value Shipping, anon-

 party to this action, to Advantage Award.I I Defendants claim, and have offered some evidence,

 that non-party Value Shipping, or its owners, received more than $48 million from entities related

 to Advantage Award in exchange for the Tanker. 12 Apparently, the sales proceeds never made it

 into, or were quickly transferred out of, Geden's coffers, so that plaintiff has been unable to seize

 them 13 However, that alone is not sufficient reason for this court to hold Advantage Award liable

 to pay the sales proceeds, again, to plaintiff in this action.



          9 Plaintiff claims that Buselten is now majority owned      by Ms. Karamehmet-Williams. See
 Plaintiff's Sur-reply to defendants' Motion, p. 14; 2023 Complaint, 114.

          to Non-party Ms. Willams, who holds 85% of the interests in Forward Holdings, LLC, is Mr.
 Karamehmet's daughter, and non-party Mr. Tokgwz who holds the other 15%, is alleged to have close ties
 to Mr. Karamehmet as well. See 2020 Complaint, 9 22. However, the court must view them as individuals,
 legally separate and financially independent from Mr. Karamehmet, until plaintiff proves otherwise. This
 plaintiff has not done.

         11   Compare defendants' Motion, 728 with plaintiffs Response to defendants' Motion, 128.

         12 Plaintiff now admits that Advantage Tankers LLC paid $ 126,617,680 to Geden for 8tankers


including the Tanker f/k/a Value and n/k/a Advantage. See 2023 Complaint, 1145-46. Plaintiff further
alleges that Geden "sold its equity interest in the 11 crude oil tankers [including the Tanker] to Advantage
tankers for approximately $200,000,000[.]" See id at 1 71. However, plaintiff also alleges that
$175,6999,979 of the sales proceeds paid to Geden was quickly transferred out of Geden's bank accounts
to related entities that are not named at defendants here. See id at 1152, 72.

        13 Plaintiff now claims "the transfer of the sales proceeds by [defendant Geden] to [non-party]

corporate entities controlled by [Mr. Karamehmet.]" Plaintiffs Memorandum in Opposition to defendants'

                                                     4
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 45 of 67


 I




         "[I]n ascertaining whether atransfer is voidable as to present and future creditors under

 [PUFTA], acourt may consider whether the value of the consideration received by the debtor was

 reasonably equivalent to the value of the asset transferred," Plaintiff has not pointed to any

 evidence that the sales proceeds were not actually transferred from the buyer, Advantage Award

 or its owners, to the seller, Value Shipping or its owners, nor has plaintiff proffered an expert or

 other evidence to show that the sales price paid for the Tanker was not reasonably equivalent value

 or afair market price. Because plaintiff does not have any such evidence, its claim that Geden

 made afraudulent transfer of the Tanker to Advantage Award fails.

         Similarly, plaintiffs claim that Advantage Award is Geden's successor for judgment

 execution purposes due to the two entities' "de facto merger" also fails.

         In cases rooted in breach of contract and express warranty, the de facto merger
         exception requires some sort of proof of continuity of ownership or stockholder
         interest. However, such proof is not restricted to mere evidence of an exchange of
         assets from one corporation for shares in asuccessor corporation. Evidence of other
         forms of stockholder interest in the successor corporation may suffice; indeed 15
         Pa.C.S. § 1922(a)(3) contemplates that continuing shareholder interest pursuant to
         astatutory merger may take the form of "obligations" in lieu of shares in the new
         or surviving corporation. Further, de facto merger, including its continuity of
         ownership prong, will always be subject to the fact-specific nature of the particular
         underlying corporate realities and will not always be evident from the formalities
         of the proximal corporate transaction. These realities may include an issue
         concerning which entity is actually the true predecessor corporation. Finally, the
         elements of the de facto merger are not amechanically-applied checklist, but amap
         to guide areviewing court to adetermination that, under the facts established, for
         all intents and purposes, amerger has or has not occurred between two or more
         corporations, although not accomplished under the statutory procedure,"




 Motion, p. 29. See also Complaint in 2023 Action, 1146-52, 71-72. Since the recipients are not parties to
 this action, the court cannot order them to return or transfer the proceeds to plaintiff.

        14   Fell v. 340 Assocs.. LLC,125 AN 75, 82 (Pa. Super, 2015).

        is Fizzano Bros. Concrete Prod. v. YLN. Inc„ 615 Pa. 242, 273, 42 A.3d 951, 969 (2012).

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Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 46 of 67




 Plaintiff has not proffered evidence of continuity of ownership or stockholder interest between

 Geden, owned by Mr. Karamehmet, and Advantage Award and its parent's parent's parent,

 Forward Holdings LLC, which is owned by Ms. Williams and Mr, Tokgoz.

        The most that plaintiff has discovered is that the Advantage Defendants have contracted

 with the same management company that Value Shipping did to handle the day-to-day operations

 of the Tanker. 16 That management company, which is not aparty to this action, is apparently

 named Genet Denizcilik Nakliyati A.S. ("Genel") and is sometimes referred to as "Geden Lines."

 Genet apparently was owned or controlled by the same person, Mr. Karamehmet, who ultimately

 owns defendant Geden Holdings. 17

        In effect, plaintiff wants this court to find that the elaborate corporate structure of which

 Advantage Award is apart is just arebranding of the elaborate corporate structure of which Geden

 is apart. However, the court cannot decide the status, rights, and liabilities of the two remaining

 defendants, Geden and Advantage Award, vis-a-vis the Tanker without also making decisions

 regarding the status, rights, and liabilities of their owners, parent companies, and subsidiaries who

 are not parties to this action.!$ Because adecision in favor of plaintiff against the two remaining




        i6   See 2020 Complaint, 1124-28; plaintiff's Sur-reply to defendants' Motion, p. 9.

         " See 2020 Complaint, 140 ("Notwithstanding the purported sale of the [Tanker] to Advantage
Award Shipping LLC[,] the commercial, technical, and administrative management and control of the
[Tanker] remained and continues to be with Geden Lines, in return for substantial management fees Geden
Lines receives from Award LLC, Geden Lines is 100% controlled by Mehmet Emin Karamehmet[.]"), 2023
Complaint, VS7 ("Karamelnnet-Williams, at all times material hereto, knew that the management and
operation of the lItankers transferred to Advantage Tankers LLC was to be performed entirely by Geden
Lines, acorporate entity controlled by her father Karamehmet at the time.")
        Plaintiff now claims that Ms. Williams and her mother or other family members have assumed
control of Genel, which marks achange of ownership, not acontinuity thereof. See Plaintiffs Sur-reply to
defendants' Motion, p. 10; 2023 Complaint, 1 13. Neither Genel, "Geden Lines," nor any of these
individuals is aparty to this case.

        11   Many of them do not appear to be subject to personal jurisdiction in Pennsylvania.


                                                      6
            Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 47 of 67


1   9   .




            defendants would potentially impair the rights of their nonjoined relatives, those absent parties

            are necessary and indispensable parties to this action. 19 Because they are necessary and
I
            indispensable non-parties, this court is deprived of subject matter jurisdiction to decide plaintiffs

            claims in this action.

                    With respect to defendant Geden Holdings, over whom this court does have jurisdiction,

            plaintiff already has ajudgment against it, so there is no point continuing this action against it

            alone to obtain, at best, aduplicate judgment. The question as to what Value Shipping and its

            owners, including Geden, did with the money they received from Advantage Award and its related

            entities is not before this court because Value Shipping Ltd., Buselten Finance S.A., and the other

            persons and entities to whom that money may have been transferred are not parties to this litigation.

            Similarly, the issue of whether Geden improperly transferred assets other than the Tanker to

            entities other than Advantage Award is not before this court because those other recipient entities

            are not parties to this action. In order to follow the money to which plaintiff claims it is entitled,

            plaintiff will have to leave Philadelphia for other ports of call where the recipients can be found.

                                                          CONCLUSION

                    For all the foregoing reasons, the defendants' Motion for Summary Judgment will be

            granted and plaintiffs claims in this action will be dismissed.

            Dated: January 22, 2024                                             BY THE COURT:




                                                                                          A. PAT


                     19 "Under Pennsylvania law, the failure to join an indispensable party implicates the trial court's
            subject matter jurisdiction. Failure to join an indispensable party goes absolutely to the court's jurisdiction
            and 'the issue should be raised sua sponte.... A party is indispensable when his or her rights are so
            connected with the claims of the litigants that no decree can be made without nnpairing those rights."
            Orman v. Mortg. I.T., 118 A.3d 403, 406 (Pa. Super. 2015)
            Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 48 of 67


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       JAM 212023       IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
       ROOM 521                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                          TRIAL DIVISION — CIVIL

                 ECLIPSE LIQUIDITY, INC.,                                JUNE TERM, 2023
                                                                                                                   DOCKETED
                                                                                                                   JAN 232024
                                                Plaintiff,               NO. 02605

                                       V.                                                                    COMMERCEPROGRAM
                                                                         COMMERCE PROGRAM

                 GULSUN NAZLI KARAHMEHMET                                Control Nos.: 23074374, 23083207,
                 WILLIAMS; COURTNEY BRYAN                                              23091839, 23112212
                 WILLIAMS; GEDEN HOLDINGS LTD.;
                 ADVANTAGE TANKERS, LLC;
                 ADVANTAGE AWARD SHIPPING, LLC,

                                               Defendants.

                                                               ORDER

                       AND NOW, this 22nd day of January, 2024, upon consideration of defendants' two sets of

              Preliminary Objections to the Complaint, plaintiffs Motion to                     Consolidate, plaintiffs

              miscellaneous Motion for Evidence of Authority, the responses thereto, and all other matters of

              record, it is ORDERED and DECREED as follows:

                    1. The Preliminary Objections are SUSTAINED;

                    2. Count III for Abuse of Process is DISMISSED with prejudice; )




                       1The defendants' alleged failure to respond fully and truthfully to discovery requests served in the
             earlier case brought by plaintiff (Case No. 200300815) does not serve as avalid basis for aclaim for abuse
             of process in this case. "Abuse of process is defined as the use of legal process against another primarily to
             accomplish apurpose for which it is not designed. To establish aclaim for abuse of,process it must be
             shown thatthe defendant (1) used it legalprocess againsttheplaintiff, (2) primarily to accomplish apurpose
             for which the process was not designed; and (3) harm has been caused to the plaintiff. Abuse of process is,
             in essence, the use of legal process as atactical weapon to coerce adesired result that is not the legitimate
             object of the process, Thus, the gravamen of this tort is the perversion of legal process to benefit someone
             in achieving apurpose which is not an authorized goal of the procedure in question." Werner v. Plater-
             Zyberk, 799 A.2d 776, 785 (Pa. Super. 2002). Responsive discovery abuses should be addressed in the
             litigation in which they occur under R, Civ. P. 4019 and not in aseparate action.
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      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 49 of 67




          3. All other claims asserted against defendants are DISMISSED without prejudice to such

                 claims being asserted in another forum thathas personal jurisdiction over all the defendants

                 and subject matter jurisdiction over the claims;2 and

          4. The Motion to Consolidate and the miscellaneous Motion are DISMISSED as MOOT,

                                                                         BY THE COURT:




                2 Plaintiff has not asserted any valid basis for this court to assert personal jurisdiction over

       Advantage Tankers LLC,Gulsun Nall Karamehinet-       Williams, and Courtney Bryan Williams.
                For the reasons set forth in the summary judgment opinion issued simultaneously in Case No.
       200300815,this court lacks subject matter jurisdiction over Counts Iand H of this dispute due to plaintiff's
       failure properly to join related,necessary and indispensable parties to this action,as well as in the previous
       action.
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            Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 50 of 67



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                         IN THE COURT OF COMMON PLEAS FOR PHILADELPHIA COUNTY
   ROOM 521                               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                    TRIAL DIVISION — CIVIL

                ECLIPSE LIQUIDITY, INC.,                                    MARCH TERM, 2020

                                                           Plaintiff,       NO. 00816

                                              V.                            COMMERCE PROGRAM

              GEDEN HOLDINGS, LTD,                                          Control No.: 23061860
              ADVANTAGE TANKERS LLC; and
              ADVANTAGE AWARD SHIPPING,                                                                              DOCKETED
              LLC,
                                                                                                                     NOV 202023
                                                           Defendants. .                                           R. POSTELL
                                                                                                               COMMERCE PROGRAM

                                                                        ORDER

                        AND NOW,this 19th day of November,2023, upon consideration of plaintiff'
                                                                                               sMotion to

             Amend the Court's May 9,2023 Order for immediate appeal,the response thereto,and all other

             matters. of record in this action,it is ORDERED that said Motion is DENIED. 1


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                      'In its Motion,plaintiff asks the Court to amend its May 91 Order denying plaintiffs Motion for
             Reconsideration of the Court'   sMarch 30,2023 Order denying plaintifFs 8`h Motion for Extraordinary
             Relief. Plaintiff seeks to have the court include the requisite language under 42 Pa.C.S.§ 702(b) to the
             effect that the Court's May 91 Order "involves acontrolling question of law as to which there is substantial
             ground for difference of opinion and that an immediate appeal from the order may materially advance the
             ultimate termination of the matter."
                     No such amendment is warranted here.  Before the May 9s' Order was entered,this court previously
             granted plaintiff seven generous discovery extensions and appointed adiscovery master in this action,
             whose recommendations the court followed thereby allowing plaiutiffto take asignificant amount of wide-
             ranging discovery.
                      At this late stage in such protracted litigation,ifthe court were to allow plaintiffs to try to take yet
             more discovery, particularly against persons and entities over whom this court does not even have
             jurisdiction,such futile discovery attempts would not result in any additional evidentiary support for
             plaintiff's claims.The court also notes that,after the order in question was entered, plaintifffailed athird
             action against the same judgment debtor/    defendant and several other persons and entities, and plaintiffwill
             presumably seek additional discovery in that new action.




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          Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 51 of 67




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                                                  First Judicial District of Pennsylvania
         A   AWL F• >                                      Trial Division-Civil
                      L•k 4.   !a
                                                             DOCKET REPORT

    CASE NUMBER                     CASE CAPTION
                                    ECLIPSE LIOUIDITY, INC, VS GEDEN HOLDINGS LIMITED

         FILING DATE: 02-OCT-2017                           COURT: NE          JURY-    N
         CASE TYPE: FOREIGN TUDGMENT
         STATUS: ORDER ENTERED - FINAL DISPOS
        RELATED CASES:

    PccrHes:
          Seq. No.             Assoc,        Expiration                  ID        Party Name/ Address
                               With               D e

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                                                                                   iCHLEIGH, MICHAEL F.
                                                                                   5HARDIN THOMPSON- PC
                                                                                   v
                                                                                   iW ELLS FARGO BLDG


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                                                                                    190 N. INDEPENDENCE MALL WEST
                                                                                    SUITE 401
                                                                                    PHILADELPHIA, PA4ga`
                                                                                    (215)625-9900
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    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 52 of 67




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                              First Judicial District of Pennsylvania
                                       Trial Division- Civil



          6                             JUDG            J461      ANDERS, DANIEL J.
                                                                    529 CITY HALL
                                                                    PHILADELPHIA, PA 19107
          7                             JUDG            J409      MCINERNEY, PATRICIA
                                                                    ROOM 364 CITY HALL
                                                                    PHILADELPHIA, PA 19107
                                                                    (215)686-2620
          S                               TL            J409      MCINERNEY, PATRICIA
                                                                    ROOM 364 CITY HALL
                                                                    PHILADELPHIA, PA 19107
                                                                    (215)686-2620
                                                                  WOOSTER, DANIEL
                                                                    190 N. INDEPENDENCE MALL WEST
                                                                   ASUITE 401
                                                                    PHILADELPHIA, PA 19106
                                                                    215)625-9900
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                                                                    16TH FLOOR
                                                                    NEW YORK, NY 10006

Docket Entries:
 Filing Date/Time     Docket Entry                                                          Date Entered

02-OCT-201713:10:31   ACTIVE CASE                                                            02-OCT-2017

                      BFiling Number: 1710000864
02-OCT-201713:10:31   COMMENCEMENT BY JUDGMENT                                               02-OCT-2017
                                                                                 SCHLEIGH, MICHAEL F.

02-OCT-201713:10:31   FOREIGN JUDGMENT FILED                                                 02-OCT-2017
                                                                                 SCHLEIGH, MICHAEL F.
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                      CERTIFIED COPY OF FOREIGN JUDGMENT FROM OF A FOREIGN ST
                      UNKNOWN IN FAVOR OF THE PLAINTIFF AND AGAINST THE DEF.
                                                                                    •
                                                                                                    •3?k ,
                      THE SUM OF $3,311,159.06. AFFIDAVIT UNDER FOREIGN JUDGMEN
                      NOTICE UNDER RULE 236.
(REV 04/11) -                                                                               19-APR-2024 14;47:49
112116310                                                                                                    SUP
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 53 of 67




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                                  First Judicial District of Pennsylvania
                                             Trial Division-Civil




27-OCT-201713:00:35     AFFIDAVIT OF SERVICE FILED                                        31-OCT-2017

                        AFFIDAVIT OF SERVICE OF FOREIGN JUDGMENT UPON GEDEN HOLDINGS
                        LIMITED BY SHERIFF SERVICE DAUPHIN ON 10/23/2017 FILED.
03-NOV-201710:29:25     AFFIDAVIT OF SERVICE FILED                              06-NOV-2017

                        AFFIDAVIT OF SERVICE OF FOREIGN JUDGMENT UPON GEDEN HOLDINGS
                        LIMITED BY SHERIFF SERVICE DAUPHIN ON 10/23/2017 FILED.
01-DEC-201715:04:40     MOT-FOR ADMISSION PRO HAC VICE                                    04-DEC-2017
                                                    a                                 REEVES, MARY E,
                        55-17120355 RESPONgp             b/2017. ((?T
                                                                    .,,ED ON BEHALF OF ECLIPSE


                                       •1
21-DEC-201715:40:47     MOTW ' PISTRIKE"UP                                                22-DEC-2017
                                                                     s       DEGIULIO, FRANK P.
                        25-171.
                              282(•fi`E•;                            i
                                                                     ON BEHALF OF GEDEN
                        HOLDR.
28-DEC-201715:11:591- 'm OTIrQN ....                                                      28-DEC-2017
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                        55=-712 ? 55'        O   ; I[SSIO• RO HA((     WA "S.IGNED TO JUDGE: ANDERS,
                                        Nf
                      ,:9'DVIEL J
                         ru ,•
29-DEC-201714:34:06e )...D4'ER`                         G           ,•
                        i



                        DECREED THAT Pl ii•.I•yFj••CLTPS•LIQUIiSi'TY INC'S MOTION FOR ADMISSION
                        PRO HAC VICE IS GRANTED, AND THAT GEORGE A. GAITAS OF GAITAS
                        KENNEDY OF CHALOS PC IS HEREBY ADMITTED PRO HAC VICE FOR PURPOSES
                        OF THIS MATTER AFTER OBTAINING THE APPROPRIATE CITY OF PHILADELPHIA
                        BUSINESS PRIVILEGE TAX LICENSE PURSUANT TO 19-2602 OF THE
                        PHILADELPHIA CODE. PRO HAC VICE COUNSEL SHALL PAY ALL CITY BUSINESS
                        AND WAGE TAX AS REQUIRED....BY THE COURT: ANDERS, J., 12/29/17
29-DEC-201714:34:07     NOTICE GIVEN UNDER RULE 236                                       02-JAN-2018

                        NOTICE GIVEN ON 02-JAN-2018 OF ORDER ENTERED/236 NOTICE GIVEN
                        ENTERED ON 29-DEC-2017,
09-JAN-201817:32:26     MOTION/PETITION REPLY FILED                                       10-JAN-2018
                                                                         SCHLEIGH, MICHAEL F.
                        25-17122925 REPLY IN OPPOSITION OF MOTION TO STRIKE FILED. (FILED ON
                        BEHALF OF ECLIPSE LIQUIDITY INC)?•gl ri
09-JAN-201818:19:56     NOTICEIPROGRAM DISPUTE FILED`
                                                                                  SCHLEIGHA
                        16-18010816 RESPONSE DATE 01/17/2018.
                                                                                          .r•1ipSv'':• •

(REV 04/213                                                                              19-APR-2024 14:47:48
412176330                                                                                                 SUP
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 54 of 67




                                                                                                      Page       4


                                        First Judicial District o£ Pennsylvania
                                                 Trial Division-Civil



16-JAN-
      201814:01:
               49             MOTION ASSIGNED                                                      16-JAN-2018


                              25-17122925 MOTION TO STRIKE ASSIGNED TO JUDGE: ANDERS, DANIEL J. ON
                              DATE: JANUARY 16, 2018
17-JAN-201815:34:18           MOTION/PETITION REPLY FILED                                          17-JAN-2018
                                                                                  DEGIULIO, FRANK P.
                              25-17122925 REPLY IN SUPPORT OF MOTION TO STRIKE FILED. (FILED ON BEHALF
                              OF GEDEN HOLDINGS LIMITED)
19-JAN-2018 09:50:
                 05           RULE ISSUED                                                          19-JAN-2018
                                                          *-                          ANDERS,DANIEL J.
                              XX-XXXXXXX, :A RULE •}
                                                  }        I•yEBY'NTEREp I SHOW CAUSE WHY RELLIEF
                              REQUES'      THEREII`•`5     t3[sD      OT BE A A   NTED. RULE RETURNABLE ON THE
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                              7TH 1rAX•Ol,JVIARCH; 21'lT;30 PM.INJOT7ZTROOM 285, CITY HALL,
                              PH1LiIA,J'(          91$'J'E OIDFRQRGOJyIPLETE TERMS. ...BY THE COURT:
                              ANDE
                                    •r
19-JAN-2018 09:50:06          NOTICE'                                                               19-JAN-2018


                        64^"yy•l•                                                      TED ON 19-JAN-2018.
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19-JAN-201810:
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19-JAN-201811:
             33:23 V.• OI:JSSIC•                 E . ;.
                                                  1          t, ' r•,- :x                           19-JAN-2018


                              16-1$010816 NOTICEt/1' 2QCRMiAklfil FILED ASSIGNED TO JUDGE:
                              MCINERNEY, PATRICIA. ON DATE: JANUARY 19, 2018
19-JAN-2018 14 ,49:38         AFFIDAVIT OF SERVICE FILED                                            19-JAN-2018
                                                                              DEGIULIO,FRANK P.
                              AFFIDAVIT OF SERVICE OF RULE TO SHOW CAUSE UPON MICHAEL FSCHLEIGH
                              AND MARY EREEVES BY FIRST CLASS REGULAR MAIL ON 01/19/2018 FILED.
                              (FILED ON BEHALF OF GEDEN HOLDINGS LIMITED)
23-JAN-2018 00:30:11          NOTICE GIVEN                                                          23-JAN-2018



23-JAN-
      2018 09.02:06           ORDER ENTERED/236 NOTICE GIVEN                                        23-JAN-2018
                                                                             MCINERNEY,PATRICIA
                              16-18010816 AND NOW, THIS 22ND DAY OF JANUARY 2018, UPON
                              CONSIDERATION OF PLAINTIFF, ECLIPSE LIQUIDITY, INC.'S NOTICE OF
                              MANAGEMENT PROGRAM DISPUTE AND NO RESPONSE IN OPPOSIPQfi
                              COURT DOCKET AND THE COMMERCE PROGRAM CRFFERIA, IT Ii
                              ORDERED THAT HTE NOTICE OF MANAGEMENT PROGRAM DISP
                              GRANTED AND THIS MATTER SHALL BE TRANSFERRED TO COMMfq,


(REV 04/11)                                                                                        19—APR-2024 14:47:40
                                                                                                                    Sue
912176310
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 55 of 67




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                                        First Judicial District of Pennsylvania
                                                           Trial Division-Civil




                        ALL PURPOSES. BY THE COURT: JUDGE MCINERNEY, SUPERVISING JUDGE FOR
                        THE COMMERCE PROGRAM, 1/22/18.
23-JAN-2018 09:02:07    NOTICE GIVEN UNDER RULE 236                                                                              23-JAN-2018


                        NOTICE GIVEN ON 23-JAN-2018 OF ORDER ENTERED/236 NOTICE GIVEN
                        ENTERED ON 23-JAN-2018.
23-JAN-2018 09:02:49    TRANSFERRED TO COMMERCE                                                                                  23-JAN-2018


                                                              A',
23-JAN-2018 09:05:04    OTHER F, NT CAN,Cg                                                                                       23-JAN-2018


                           cc
23-JAN-2018 09:05:29    MOTJ                                                                                                     23-JAN-2018

                        25-171                         IGITQ                                                  EY, PATRICIA ON 23-JAN-18
26-JAN-2018 09:56:20   t14)IjE+T'•'IC,?N ItE1PL'Y•.                                                                              26-JAN-2018
                                                                                                                      SCHLEIGH, MICHAEL F.
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05-PEB-2018 07:56:26c•;,     I     II O LIS                                                                                      65-FEB-2018
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09-FEB-201810:17:29        ORDER ENTERED SFIMAI`DISPO9:                                                                          09-FEB-2018
                                                                     MCINERNEY, PATRICIA
                        2547122925 (ORDER AND OPINION) AND NOW, THIS 7TH DAY OF FEBRUARY
                        2018, UPON CONSIDERATION OF DEFENDANT'S MOTION TO STRIKE JUDGMENT,
                        PLAINTIFF'S RESPONSE IN OPPOSITION, AND IN ACCORD WITH THE ATTACHED
                        MEMORANDA, IT HEREBY IS ORDERED THAT THE MOTION IS DENIED. BY THE
                           COURT: JUDGE MCINERNEY, 2/7/18.
09-FEB-2018 10.17:30    NOTICE GIVEN UNDER RULE 236                                                                              09-FEB-2018

                        NOTICE GIVEN ON 09-FEB-2018 OF ORDER ENTERED - FINAL DISPOS ENTERED
                           ON 09-FEB-2018.
02-MAR-201813:15:30     APPEAL TO SUPERIOR COURT                                                                                02-MAR-2018
                                                                                                                        DEGIULIO, FRANK P.
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                        NOTICE OF APPEAL FROM THE DECISION DATED 2/7/18 AND DOCK
                        2/9/18 BY JUDGE MCINERNEY, PATRICIA. PROOF OF SERVICE FILEDr
                        BEHALF OF GEDEN.HOLDINGS LIMITED)
                        kkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkk#kkkkkkkkk




(REV 04/111                                                                                                                     19-APR-2024 14:47:40
91211,310                                                                                                                                        SUP
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 56 of 67




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                                 First judicial District of Pennsylvania
                                             Trial Division-Civil



                                                                                                    08-MAR-2018
08-MAR-2018 08:59 :54    FEE PD PURSUANT TO ORDER

                         CHECK 0009006 IN THE AMOUNT OF $90.25 WAS DISBURSED TO SUPERIOR
                         COURT 3/8/2018
09-APR-201810:14:55      MOTION TO STRIKE PLEADING                                                   09-APR-2018
                                                                            SCHLEIGH, MICHAEL F
                         42-18041142 RESPONSE DATE 04/30/2018. (FILED ON BEHALF OF ECLIPSE
                         LIQUIDITY INC)
09-APR-201812-54:46      OPINION FILED/236 NOTICE GIVEN                                              09-APR-2018
                                                                                          MCINERNEY, PATRICIA
                                                            .1 0NERIffiY J.
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09-APR-201812:54:47                                  •;i.••(-2•••   ,
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09-APR-201813:09:56                                                                                  09-APR-2018


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09-APR-201813:09.5

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09-APR-2018             Fxa N•1`ICF£;GEIN: U                                                           09-APR-2018


                          NOTICE GIVEN ON 09-APR-2018 OF APPEAL INVENTORY RECORD SENT
                          ENTERED ON 09-APR-2018.
SO-APR-201817:16 ,42      MOTION FOR PROTECTIVE ORDER                                                01-MAY-2018
                                                                                              DEGIULIO, FRANK P.
                          76-18050076 RESPONSE DATE 05/2112018. (FILED ON BEHALF OF GEDEN
                          HOLDINGS LIMITED)
 01-MAY-2018.10:43:44     ENTRY OF APPEARANCE-CO COUNSEL                                             01-MAY-2018
                                                                                               WOOSTER, DANIEL
                          ENTRY OF APPEARANCE OF DANIEL WOOSTER AS CO-COUNSEL FILED. (FILED
                          ON BEHALF OF GEDEN HOLDINGS LIMITED)
 02-MAY-201813:40:54      MOTION ASSIGNED                                                            02-MAY-2018


                          42-18041142 MOTION TO STRIKE PLEADING ASSIGNED TO JUDGE: MCINERNEY,
                          PATRICIA. ON DATE: MAY 02, 2018
 21-MAY-201818:21:41      ANSWER (MOTION/PETITION) FILED                                                    }

                                                                                            SCHLEIGH
                          76-18050076 ANSWER IN OPPOSITION OF MOTION FOR PROTECTIV E

                                                                                                       19-.APR-2024 14:47:48
 (REV O4/11)                                                                                                             Sue
 112176330
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 57 of 67




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                                  First Judicial District of Pennsylvania
                                             Trial Division-Civil




                          FILED. (FILED ON BEHALF OF ECLIPSE LIQUIDITY INC)
                                                                                                 24-MAY-2018
24-MAY-2018 09:47:09      MOTION ASSIGNED

                          76-18050076 MOTION FOR PROTECTIVE ORDER ASSIGNED TO JUDGE:
                          MCINERNEY, PATRICIA. ON DATE: MAY 24, 2018
29-MAY-201815:18 :25      MOTION/PETITION REPLY FILED                                             TRA -2018
                                                                                        DEGIULIO, PRANK P.
                          76-18050076 REPLY IN SUPPORT OF MOTION FOR PROTECTIVE ORDER FILED.
                          (FILED ON BEHALF Q , G I
                                                 EN HOLDINGS LIMITED)

30-M   AY-201810 ;07:32     ORDER NTERED/2Qi;                                                            30-MAY-2018
                                                                                                            PATRICIA
                                   x;• s :. ; •Y••.1;`z    ••+ :• •`- .• „ "yamy?;           MCINERNEY,
                                                                                                  Y, 2018, UPON
                            42-18"dI76 -18                  t
                                                                  NOW,        ' OT.(i DAY OF MAY,
                                                                   •`FII•a_3.....
                                                 •pP •ltf     y      • GL113$      UID , INC. SMOTION TO STRIKE
                            CONQ_                             ?fL1kF:_ .           v
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                            OBJ ! QNQ, 9' : .Q                                                      N ANDRESPONS
                               E '                                P              rj D         PLAINTIFF'S          E
                          i,DEF F IBM         7••• 1      •
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                                                          Fq                     x   ER AND PLAINTIFF'S MOTION TO
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                                                                   ORb_     C ,               OF EXECUTION IS
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                       jw";       ED A-2'. D.O•NIA71•1• ••'?•?•y?`•[Olvf••••?J•,
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                    ••     1)•' ••-••• r
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                                                                                       Ig$ PA.R.CN.P.
                      -Y`"`.'RESI';O:NDWPP.;:aLT jB=- •QPI?I•'2••?TIME_•'•tPSCRIBED
                          ALL OTHER ASPECTS OF 'MOTION ARE DENIED. BY THE COURT: JUDGE

                           MCINERNEY, 5/30/18.
 30-MAY-201810:07:33       NOTICE GIVEN UNDER RULE 236                                             30-MAX-2018

                           NOTICE GIVEN ON 30-MAY-2018 OF ORDER ENTERED/236 NOTICE GIVEN
                           ENTERED ON 30-MAY-2018.
                                                                                               3o-MAY-2018
 30-MAY-201810:08:27        OTHER EVENT CANCELLED                                     MCINERNEY, PATRICIA

                            7648050076 MOTION ASSIGNMENT CLOSED. SEE ORDER OF MAY 30, 2018
                            ENTERED BY JUDGE MCINERNEY ADDRESSING THE FOLLOWING CONTROL


  23-OCT-2018 09:04:0 1     NUMBERS:
                            MOT.DISCO18041142
                                       VERY TO& 18050076.
                                                 AID EXECUTION                                   23-OCT-2018
                                                                                       SCIiLEIGH, MICHAEL 8F.
                            56-18102956 RESPONSE DATE 11/13/2018. (FILED ON BEHALF OF ECLIPSE
                            LIQUIDITY INC)                                                 ••
  13-NOV-201816:38:18       MEMORANDUM FILED
                                                                                          DEGIUL•'.'
                            56-18102956 MEMORANDUM IN OPPOSITION OF MOT-DISCOVERY.
                                                                                                    19-AYA-2024 14!47:48
                                                                                                                     SOP
  (REV 04/11)
  112176 10
   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 58 of 67




                                                                                                     Page      8


                               First Judicial District of Pennsylvania
                                         Trial Division-Civil




                       EXECUTION FILED. (FILED ON BEHALF OF GEDEN HOLDINGS LIMITED)
15-NOV-2018 09:51:59   MOTION ASSIGNED                                                         15-NOV-2018

                       5648102956 MOT-DISCOVERY TO AID EXECUTION ASSIGNED TO JUDGE:
                       ANDERS, DANIEL J. ON DATE: NOVEMBER 15, 2018
19-NOV-2018 22:39:55   MOTION/PETITION REPLY FILED                                              20-NOV-2018
                                                                       SCHLEIGH, MICHAEL F.
                       56-18102956 REPLY IN SUPPORT OF MOT-DISCOVERY TO AID EXECUTION FILED.
                                               J}

                       (FILED ON BEHALF OF•E. °       ELIQUIDITY INC)
21-NOV-201814:49:41    MOTIOI•J/1SSIGNM    ,              D       F'•.=n                        21-NOV-2018

                                                                              NINA W. ON 21-NOV-18
11-FEB-201910:42:29                                                                                 11-FEB-2019
                                                                                        PADILLA, NINA W.
                                                     ATa;PLA                     E LIQUIDITY INC'S SECOND
                                                    ONSI•fD                EpTSCOVERY IS GRANTED.
                                                                                  ;t vS
                                                                                 ••,   TO THE DISOCVERY
                                                         1TA'flTMa   , PI71      EB 'OVERRULED IT IS
                                                                  TSHAL•IsSY AND COMPLETELY
                                      _ ;•,.:,       F.       S                  ._:'ION OF DOCUMENTS
                                      TIC (1CAIVAR•7A'"R.,RpIVIn'I•9+--••.1 }MTh OF THIS ORDER OR BE
                          UPP-1VTO -SANCA; ONS Y-JTFUS•COUR .:,
                                                              s;P ;fl`I E'CbURT; PADILLA, J. 2-11-19
11-FEB-2019 10:42-30   NOTICE GIVEN AM]           i[JL$.236                                         12 FEB-2019

                       NOTICE GIVEN ON 12-FEB-2019 OF ORDER ENTERED/236 NOTICE GIVEN
                       ENTERED ON 11-FEB-2019.
27-FEB-201910:58:04    ORDER AFFIRMED BY APPELLATE CT                                               27-FEB-2019

                       779 EDA 2018
                       ACCORDINGLY, WE AFFIRM
                       ORDER AFFIRMED, JUDGMENT ENTERED.
20-NOV201916:18:38     MOTION FOR SANCTIONS                                                     20-NOV-2019
                                                                          SCHLEIGH, MICHAEL F.
                       74-19112674 RESPONSE DATE 12/10/2019. (FILED ON BEHALF OF ECLIPSE
                       LIQUIDITY INC)
11-DEC-201910:17:23    ANSWER (MOTION/PETITION) FILED                                           11-DEC-2019
                                                                                          DEGIULY
                       74-19112674 ANSWER IN OPPOSITION OF MOTION FOR SA
                       ON BEHALF OF GEDEN HOLDINGS LIMITED)                               :'.1{
12-DEC-201913:44:27    MOTION ASSIGNED                                             >         .1N 2•

•BEV 04/11)                                                                                     19-.SPA-2024 14;47;48
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   Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 59 of 67




                                                                                                                   Page         9


                                             First Judicial District of Pennsylvania
                                                         Trial Division-Civil




                                 74-19112674 MOTION FOR SANCTIONS ASSIGNED TO JUDGE: PADILLA, NINA W..
                                 ON DATE: DECEMBER 12, 2019
18-DEC-2019 10.10.13             MEMORANDUM FILED                                                              18-DEC-2019
                                                                              SCHLEIGH, MICHAEL F.
                                 74-19112674 MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS FILED.
                                 (FILED ON BEHALF OF ECLIPSE LIQUIDITY INC)
24-DEC-2019 10.44:04             MOTION/PETITION REPLYFILED                                                    24-DEC-2019
                                                     a; ( y? 4lik                    DEGIULIO, FRANK P.
                                 XX-XXXXXXX.,4,REPLY
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30-DEC-201913.30:39              MOTpgW%•'ITION
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                                                                                                    SCHLEIGH, MICHAEL F.
                                 74-191f2ff, •,                                              R SANCTIONS FILED. (FILED ON
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01-JUL-2020 15-36-.00       -_.OtI••                                                                            a1-)UL-202a
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                                            ,YS:.=z:•<:}41©•1Vh•.( E;QOI;I1iOTT -1) IT`ISFURTHERORDERED
                                 THAT PLAINT1Fh SHt•:L`S'PI? ACOPY OP THIS ORDER UPON DEFENDANT AND
                                 PRESENT PROOF OF SERVICE TO THIS COURT. BY THE COURT: JUDGE PADILLA,
                                 6/30/2020.
01-JUL-202015.36:01              NOTICE GIVEN UNDER RULE 236                                                     02-JUL-2020


                                 NOTICE GIVEN ON 02-JUL-2020 OF ORDER ENTERED/236 NOTICE GIVEN
                                 ENTERED ON 01-JUL-2020.
01-JUL-202015:39:35              MOTION HEARING SCHEDULED                                                        01-JUL-2020

                                 74-19112674 MOTION FOR SANCTIONS IS LISTED FOR A ZOOM HEARING ON
                                 7/17/2020 AT 11:30 A.M.
03-JUL-2020 00:30:07             NOTICE GIVEN                                                                    03-JUL-2020



14-JUL-202016:56:51              MOTFOR ADMISSION PRO HAC VICE
                                                                                      DEGIULQ+'.
                                 64-20071264 RESPONSE DATE 08/03/2020. (FILED ON BEHALF OF GEL
                                 HOLDINGS LIMITED)

(REV 04/11)                                                                                                    19—APR-2024   14:17:4B
                                                                                                                                  SUP
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    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 60 of 67




                                                                                                                 Page       10


                                            First Judicial District of Pennsylvania
                                                                  Trial Division- Civil



20-JUL-202011:29:35      ORDER ENTERED/236 NOTICE GIVEN                                                        20-JUL-2020
                                                                               PADILLA, NINA W.
                         74-19112674 AND NOW, THIS 17TH DAY OF JULY, 2020, UPON CONSIDERATION
                         OF THE MOTION FOR SANCTIONS FILED ON BEHALF OF PLAINTIFF ECLIPSE
                         LIQUIDTIY, INC., AND ANY RESPONSES THERETO, IT IS HEREBY ORDERED AND
                         DECREED THAT THE HEARING FOR JULY 17, 2020, DUE TO THE PENDING
                         MOTION FOR ADMISSION PRO HAC VICE, IS HEREBY RESCHDULED FOR AUGUST
                         13, 2020, AT 11:30 A.M. VIA ZOOM (SEE FOOTNOTE 1). IT IS FURTHER ORDERED
                         THAT PLAINTIFF SHALL SERVE A COPY OF THIS ORDER UPON DEFENDANT AND
                         PRESENT PROOF OF SERI& TO THIS COURT. BY THE COURT: JUDGE PADILLA,
                         7/17/2020
                                 xWN            + '"
20-JUL-202011:29:36      NOTI        VEN UND ft iwI•  23' ••_.-5..•
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20-JUL-202011:32:47 ,,         OTI,                                                                            20-JUL-2020
                                                                                                        PADILLA, NINA W.

20-JUL-202011:33:38                                                                                            20-JUL-2020
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22-JUL-2020 00:30:
                 02                                                                    C.   N,7:               22-JUL-2020
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05-AUG-202013:05:43      MOTION ASSIGNED                                                                     05-AUG-2020

                         64-20071264 MOT-FOR ADMISSION PRO HAC VICE ASSIGNED TO JUDGE:
                         PADILLA, NINA W. ON DATE: AUGUST 05, 2020
06-AUG-202010:42:49      ORDER ENTERED/236 NOTICE GIVEN                                                      06-AUG-2020
                                                                                PADILLA, NINA W.
                         64-20071264 AND NOW, THIS 5TH DAY OF AUGUST, 2020, IT IS ORDERED AND
                         DECREED THAT THE MOTION FOR ADMISSION PRO HAC VICE IS HEREBY
                         GRANTED, AND NEIL A. QUARTARO OF COZEN O'CONNOR, 45 BROADWAY
                         16TH FLOOR, NEW YORK, NY 10006 IS HEREBY ADMITTED PRO HAC VICE FOR
                         PURPOSES OF THIS MATTER AFTER OBTAINING THE APPROPRIATE CITY OF
                         PHILADELPHIA BUSINESS PRIVILEGE TAX LICENSE PURSUANT TO 19-2602 OF
                         THE PHILADELPHIA CODE. PRO HAC VICE COUNSEL SHALL PAY.:A.I•:.:
                         BUSINESS AND WAGE TAX AS REQUIRED, BY THE COURT: JUDGE:I
                         8/5/2020.



(REV 04/11)                                                                                                  19—APA-2024   U:47:48
912176310                                                                                                                      SUP
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 61 of 67




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                    -I                           First Judicial District of Pennsylvania
                                                           Trial Division- Civil




06-AUG-202010:42:50               NOTICE GIVEN UNDER RULE 236                                           06-AUG-2020

                                  NOTICE GIVEN ON 06-AUG-2020 OF ORDER ENTERED/236 NOTICE GIVEN
                                  ENTERED ON 06-AUG-2020.
08-AUG-2020 00:30:01              NOTICE GIVEN                                            08-AUG-2020



17-AUG-202014:51:37               ORDER ENTERED/236 NOTICE GIVEN                                        17-AUG-2020
                                                                                                    PADILLA, NINA W.
                                  74-19112674 AND NOW, ,               S,14TH DAY OF AUGUST, 2020, UPON
                                  CONSIDE.MTION O          41;QN FORSAN  zt, CTIONS FILED ON BEHALF OF
                                  P              F,ECLIPSEW     C., AN L  " t        SES THERETO, AND
                                  FOLLOW I)••*•IORAL ARGO,  N ON SA - ° `;1!707`ION, TT IS HEREBY ORDERED AND
                                                                     Q,,:..f ;
                                  DEC Ea73ATim OTI!                         rL•yS FOLLOWS:1. DEFENDANT SHALL
                                  FULLYiQ                                     T-DATED FEBRUARY 11, 2019,
                                         1•
                                                                                 STRIKE OBJECTIONS AND COMPEL
                                                                                    Id JOANT SHALL PRODUCE
                               2'3N
                                                                                       COMS?T    ELY RESPOND TO
                                                                                    OED;C CtIA. ENTS, INCLUDING BANK
                                                                                       yTOVA DOCUMENTS, AND THE
                                      UI•(gA ltE ub`                        -- sr•:t--ra REQUESTED BY
                         •_.          fi t'+t"     ., I:   ,i3   r.•
                                                                          Oj35(QI?r TES T OF THIS ORDER, OR
                                          ,R=F rizTi                          F1ILI1GTQ'C1VSI'LY WITH THIS COURT'S
                                  ORDER. BY THE CUI':i`  EPP
                                                           D1LLA, 8/14/2020.
17-AUG-2020 14:51-38              NOTICE GIVEN UNDER RULE 236                                           18-AUG-2020

                                  NOTICE GIVEN ON 18-AUG-2020 OF ORDER ENTERED/236 NOTICE GIVEN
                                  ENTERED ON 17-AUG-2020.
14-SEP-202014:49:46               MOT-DISCOVERY TO AID EXECUTION                           14-SEP-2020
                                                                                     SCHLEIGH, MICHAEL F.
                                  39-20091339 RESPONSE DATE 10/05/2020. (FILED ON BEHALF OF ECLIPSE
                                  LIQUIDITY INC)
05-OCT-202017:26:21               ANSWER (MOTIONMETITION) FILED                                         06-OCT-2020
                                                                                   DEGIULIO, FRANK P.
                                  39-20091339 ANSWER IN OPPOSITION OF MOT-DISCOVERY TO AID EXECUTION
                                  FILED. (FILED ON BEHALF OF GEDEN HOLDINGS LIMITED)
07-OCT-2020 14:11:15              MOTION ASSIGNED                                                       07-OCT-2020

                                  39-20091339 MOT-DISCOVERY TO AID EXECUTION ASSIGNED TO
                                  PADILLA, NINA W. ON DATE: OCTOBER 07, 2020
19-OCT-2020 15:45:35              MOTIONNETITION REPLY FILED

My 04111)                                                                                               19 APA-2024 14:47:48
#12176310                                                                                                                 SUP
     Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 62 of 67




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                                           First judicial District of Pennsylvania
                                                             Trial Division-Civil




                                                                               SCHLEIGH, MICHAEL F.
                               39-20091339 REPLY IN SUPPORT OF MOT-DISCOVERY TO AID EXECUTION FILED.
                               (FILED ON BEHALF OF ECLIPSE LIQUIDITY INC)
28-OCT-202013.05:19            ORDER ENTERED/236 NOTICE GIVEN                                                          28-OCT-2020
                                                                                    PADILLA, NINA W.
                               39-20091339 AND NOW, THIS 27TH DAY OF OCTOBER, 2020, UPON
                               CONSIDERATION THE MOTION FOR DISCOVERY TO AID EXECUTION FILED ON
                               BEHALF OF PLAINTIFF ECLIPSE LIQUIDITY, INC., AND THE RESPONSES THERETO,
                               IT is HEREBY ORDER      n,DECREED THAT A HEARING IS HEREBY
                               SCHEDULED ON SAz1[SN!ON NOVJa}yIBER 17, 2020, AT 10:00 A.M. VIA
                               ZOOM•rSE FOOTN : ?.•5: URT                bDERED THAT PLAINTIFF SHALL
                               SERVaR1,•°C     YOF THIS' (*QU ZUPON ME'"'IMANT AND PRESENT PROOF OF
                               SER     E 1' ATHJ••• O•U T' $ '-T E O        GE PADILLA, 10/2712020.
28-OCT-202013:05:20            NOTIMt(3IEI•J'LI•IU{3.4 St,;;sa:;s„                                                     Z9-OCT-2020

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30-OCT-202011:46:i94,, ,             •. ; ER.',QA F '    t; `;ha_. t'•::•_
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                                                                                          30 -
                                                                                             OCT 2020
                                                                                             OCT-2020
                                                           "                SCHLEIGH, MICHAEL F.
                               AFFIDAVIT OF SERVICE OF NOTICE OF ZOOM HEARING 11-17-2020 10AM W
                               JUDGE PADILLA UPON GEDEN HOLDINGS LlWED, FRANK P DEGIULIO AND
                               DANIEL WOOSTER BY FIRST CLASS REGULAR MAIL ON 10/30/2020 FILED. (FILED
                               ON BEHALF OF ECLIPSE LIQUIDITY INC)
23-NOV-2020 09:52:17           ORDER ENTERED/236 NOTICE GIVEN                                                          23-NOV-2020
                                                                                   PADILLA, NINA W.
                               39-20091339 AND NOW, THIS 20TH DAY OF NOVEMBER, 2020, UPONO
                               CONSIDERATION OF THE MOTION FOR DISCOVERY TO AID EXECUTION FILED
                               ON BEHALF OF PLAINTIFF ECLISPSE LIQUIDITY, INC., AND THE RESPONSES
                               THERETO, IT IS HEREBY ORDERED AND DECREED THAT THE HEARING
                               SCHEDULED FOR NOVEMBER 18, 2020 IS HEREBY ADJOURNED AND CONTINUED
                               TO JANUARY 26, 2021 AT 10:00 A.M. VIA ZOOM (SEE FOOTNOTE 1) IN ORDER FOR
                               THE PARTIES TO CONTNUE ENGAGING IN SETTLEMENT NEGOTIATIONS
                               REGARDING SAID MOTION. BY THE COURT: JUDGE PADILLA, 11/20/j •1
23-NOV-2020 09:52:18           NOTICE GIVEN UNDER RULE 236
                                                                                                                                        i•
                               NOTICE GIVEN ON 24-NOV-2020 OF ORDER ENTERED/236 NOTICE <
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(RESI 0{/11)                                                                                                           19—APR-2024 L{:{7:{8
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:,      Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 63 of 67




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                                    First Judicial District of Pennsylvania
                                               Trial Division- Civil




                            ENTERED ON 23-NOV-2020.
     23-NOV-2020 09:55:55   MOTION HEARING RESCHEDULED                                                   23-NOV-2020
                                                                                                   PADILLA, NINA W.

     23-NOV-202009:57:23    MOTION HEARING SCHEDULED                                                     23-NOV-2020

                            39-20091339 MOTION FOR DISCOVERY TO AID EXECUTION IS SCHEDULED FOR A
                            ZOOM HEARING ON 1/26/2021 AT 10:00 A.M.
     22-MAR-202111:55:59    ORDER ENTERED/23f.N0' Cf GIVEN                                               22-MAR-2021
                                                      SFr'"a

                                                                                       PADILLA, NINA W.
                            AND Iy(74yWtTHIS 19TH';         F`1WfARCH, O At PON CONSIDERATION OF
                                 :ice«::FeS••       1-.
                            PLAIN'IBvIOTION • • O          i'OSED SAI.(TIQS, AND ANY RESPONSE THEREO,
                            IT IS 1•T•• ORI•R
                                            R•E•:7          DI;eREEDr'j' L' -
                                                                            AAID MOTION IS WITHDRAWN BY
                                            S ys. t
                            PLAINT;:•: ..                       •G! E'V,A1DM-IaA; 3/19/2021.
     22-MAR-202111:56:00_:.; NOT                                                                         23-MAR-2021

                                                                                                36 NOTICE GIVEN


     25-MAR-202116:45.1      OHER E                                                                      25-MAR-2021
                                                                                                    PADILLA, NINA W.
                            . .1 ,:3
                            :,31I, - j

     06-NOV-202310:51:07' PItAs•FE-                       Vt4L;;; = :s
                                                                     f,• 5:4. a .•.s ,.c
                                                                                       t :. -            06-NOV-2023
                                                                             SCHLEIGH, MICHAEL F.
                             PRAECIPE FOR WRIT OF REVIVAL FILED. WRIT OF REVIVAL OF JUDGMENT WITH
                             NOTICE TO PLEAD RE-ISSUED IN THE SUM OF $3,311,159.06. (FILED ON BEHALF
                             OF ECLIPSE LIQUIDITY INC)
     15-NOV-202311:37:36     AFFIDAVIT OF SERVICE FILED                                                  16-NOV-2023
                                                                            SCHLEIGH, MICHAEL F.
                             AFFIDAVIT OF SERVICE OF WRIT OF REVIVAL UPON NEIL A QUARTARO ESQ
                             GEDEN HOLDINGS LTD, FRANK PDEGIULIO AND DANIEL WOOSTER BY FIRST
                             CLASS REGULAR MAIL ON 11/09/2023 FILED. (FILED ON BEHALF OF ECLIPSE
                             LIQUIDITY INC)
                                               *** End of Docket ***




                                                                                                          19-APR- 2024   14:41148
     1REV 04/11)                                                                                                              SOP
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Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 64 of 67




                    Appendix D
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 65 of 67

                                                                          Filed 04/26/2024



 ECLIPSE LIQUIDITY, INC.                     IN THE SUPERIOR COURT OF
                                                   PENNSYLVANIA

             V.                              Philadelphia County Civil
                                             Division
                                             200300816
GEDEN HOLDINGS, LTD, ADVANTAGE
TANKERS, LLC, AND ADVANTAGE
AWARD SHIPPING, LLC
                                              No. 587 EDA 2024

APPEAL OF: REUBEN BALZAN,
COURT-APPOINTED LIQUIDATOR FOR
GEDEN HOLDINGS, LTD.



                                    ORDER

      Appellant, Reuben Balzan, Court-Appointed Liquidator for Geden
Holdings, Ltd. (" Geden"), one of the defendants below, appeals from the
January 24, 2024 order that granted summary judgment in favor of Geden as
well as the other defendants and dismissed the action against them for lack
of subject matter jurisdiction.

       "Except where the right of appeal is enlarged by statute," only a " party
who is aggrieved by an appealable order, or a fiduciary whose estate or trust
is so aggrieved, may appeal therefrom." Pa.R.A.P. 501. " A party is aggrieved'
when the party has been adversely affected by the decision from which the
appeal is taken." In re Int. of K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017).
"A prevailing party is not aggrieved' and[,] therefore, does not have standing
to appeal an order that has been entered in his or her favor." Epstein v. Saul
Ewing, LLP, 7 A.3d 303, 314 ( Pa. Super. 2010). Here, the order granted
summary judgment in favor of Geden and the other defendants below.
Therefore, Geden is a prevailing party, and Appellant lacks standing to appeal
the order entered in Geden's favor.

      By Order of March 25, 2024, Appellant was directed to show cause why
he has standing to appeal the order. Although Appellant filed a response to
the show- cause order, the response is legally insufficient to support
Appellant's standing to appeal the order.      Accordingly, the appeal is
DISMISSED.

                                                                   PER CURIAM
Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 66 of 67




                    Appendix E
    Case 25-90138 Document 25-31 Filed in TXSB on 06/02/25 Page 67 of 67

                                                                       Filed 05/08/2024



 ECLIPSE LIQUIDITY, INC.                   IN THE SUPERIOR COURT OF
                                                 PENNSYLVANIA

            V.                             Philadelphia County Civil
                                           Division
                                           200300816
GEDEN HOLDINGS, LTD, ADVANTAGE
TANKERS, LLC, AND ADVANTAGE
AWARD SHIPPING, LLC
                                            No. 587 EDA 2024

APPEAL OF: REUBEN BALZAN,
COURT-APPOINTED LIQUIDATOR FOR
GEDEN HOLDINGS, LTD.



                                  ORDER


      Upon consideration of the May 8, 2024 " Motion of Reuben Balzan
Liquidator of Geden Holdings Ltd. for Re-Argument of April 26, 2024 Order
Dismissing Appeal," docketed as " Application for Reconsideration of Order,"
filed by Appellant, Reuben Balzan, Court- Appointed Liquidator for Geden
Holdings, Ltd., the application is DENIED.

                                                                PER CURIAM
